Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 1 of 86 PageID 1470




                                                          APPENDIX P. 1
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 2 of 86 PageID 1471




                                                          APPENDIX P. 2
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 3 of 86 PageID 1472




                                                          APPENDIX P. 3
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 4 of 86 PageID 1473




                                                        APPENDIX P. 4
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 5 of 86 PageID 1474




                                                        APPENDIX P. 5
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 6 of 86 PageID 1475




                                                        APPENDIX P. 6
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 7 of 86 PageID 1476




                                                        APPENDIX P. 7
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 8 of 86 PageID 1477




                                                        APPENDIX P. 8
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 9 of 86 PageID 1478




                                                        APPENDIX P. 9
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 10 of 86 PageID 1479




                                                       APPENDIX P. 10
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 11 of 86 PageID 1480




                                                       APPENDIX P. 11
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 12 of 86 PageID 1481




                                                       APPENDIX P. 12
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 13 of 86 PageID 1482




                                                       APPENDIX P. 13
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 14 of 86 PageID 1483




                                                       APPENDIX P. 14
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 15 of 86 PageID 1484




                                                       APPENDIX P. 15
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22                Page 16 of 86 PageID 1485


                  ">*>-"*>(**(>(*%*>#-%*
                  #%>*>"#%*%">(*%*>#>*1(
                           *0#%*>.(#"

 '#'*>#>'#((                              =>
 $:49;<98>                                     =
                                                
                                                =>
 .>                                            
                                                =>
  -2>%%>">                          =>
 ((#*(>">((#*#">                 =>
 #>$%#((#">*>                        =      4S6>"O>???????????????????
 **""*(>->%>                    =
 ">%>%%(>                               =>
 67;54;<S >                                    




         /+>#>"">!&*">">),$$#%*>#>$"*(>#%">
                        # $"*>"> #*#">*#>.*

 (+\%\UB6\WL56PTDAL65\-WUBMPDUZ\ML\UBDT\5-Z\N6PTML-IJZ\-ON6175\'6L-\&-QUEL\YBM\37ELA\

3Z\K6\>PTU\5WIZ\TYMS\5F5\TU-U6\
            #\-K\6KNJMZ65\-T\-\!JFABU\UU6L5-LU\YMPGFLA\YFUB\K6PF40\FPJFL6T\#L4\-L5\#

              T6PX65\ ML\ UB6\ M-P5\ M8\ FP64UMPT\ ?P\ UB6\ TTM4F-UEML\ M8\ )PM;TTFML-J\ !IEABU

              UV6L5-LUT\36UY66L\NPFI\\UM\$-LW2[\ \ #\-K\M8\TMWL5\KFL5\/L5\3M5Z\UM

              K/G6\UBFT\-9=5-XEU\-L5\B-X6\N6PTML-J\HLMYJ65A6\M8\UB6\?IIMYFLA\:4UT

              -    #\.UU6L565\UB6\M25\M8\EP64UMPT\K66UELAT\ML\(4UM36P\\\-L5\(4UM36P

                   \ \ EL\ YC4B\ 6XF56L46\ @MK\ -L\-44MWLUELA\ >PK\ BFP65\ 3Z\)!\\ Y-T

                   NP6T6LU65\M<\UB6\P64MP5 \ PEG\"/PPFT\NP6T6LU65\TNP6-5TB66UT\B6\TU-U65\Y6P6\UB6

                   P6TWJUT\M8\/L\-44MWLUFLA\P6XF6Y\UB-U\TBMY65\*M36RV\M3\*MTT\MY65\?P\-L

                   MX6PN-ZK6LU\K-56\WL56P\BFT\,P-LTFUEML\AP66K6LU\EL\UB6\-KMWLU\M8\ 



                                    
                                                                        APPENDIX P. 16
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 17 of 86 PageID 1486




                                                         APPENDIX P. 17
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 18 of 86 PageID 1487




                                                         APPENDIX P. 18
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 19 of 86 PageID 1488




                                                         APPENDIX P. 19
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 20 of 86 PageID 1489




                                                         APPENDIX P. 20
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 21 of 86 PageID 1490




                                                         APPENDIX P. 21
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 22 of 86 PageID 1491




                                                         APPENDIX P. 22
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 23 of 86 PageID 1492




                                                         APPENDIX P. 23
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 24 of 86 PageID 1493




                                                         APPENDIX P. 24
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 25 of 86 PageID 1494




                                 THE
                  Constitution
                               OF THE

                    Association
                                   OF

                   Professional
                            Flight
                     Attendants
                      As amended by the APFAMembership
                               June 18, 2014



                                                         APPENDIX P. 25
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22                     Page 26 of 86 PageID 1495
                                    ARTICLE VII
                              HEARINGS AND DISCIPLINARY
                                     PROCEDURES


                Section 1. GROUNDS FOR CHARGES:
                 Any member is subject to fine, suspension or expulsion, or
                 suspension from or removal from office, for any of the
                 following acts:
                  A. Failure to pay dues, assessments or penalties levied by
                      the Association;
                  B. Advocating, or working toward, the displacement of the
                      APFA as bargaining representative (providing that
                      advocating, or working toward an affiliation, merger or
                      federation of the APFA pursuant to Article XII of this
                      Constitution shall not be grounds for discipline);
                  C. Willfully acting as a strike breaker during any work
                      stoppage duly authorized by the Association;
                      (1) Notwithstanding Section 1.C, above (which provides
                            as a grounds for charges willfully acting as a strike
                            breaker during any work stoppage duly authorized
                            by the Association) APFA shall not process any
                            charge of willfully acting as a strike breaker during
                            the November 1993 strike against American
                            Airlines.
                  D. Willful violation of a Flight Attendant's Collective
                      Bargaining Agreement;
                  E. Theft or embezzlement of Association monies or
                      property;
                  F. Willful violation of an express Article of this Constitution,
                      or of a proper and express written resolution or policy of
                      the Board of Directors or the Executive Committee;
                  G. Willfully acting in a manner that causes the Association
                      to violate its legal obligations; or
                  H. Willfully bringing charges without reasonable basis
                      against another member, officer or representative of the
                      Association, should such charges be dismissed for any
                      reason by the Article VII Arbitrator designated herein, or
                      should such charges not be sustained by the Article VII
                      Arbitrator.

                Section 2. FILING OF CHARGES:
                  A. A charge may be filed by any member in good standing.
                     All charges shall be filed with the National Secretary and
                     shall be proffered in writing and shall be specific as to
                     the alleged act(s) and/or the Article(s) of this Constitution


                ARTICLE VII    HEARINGS AND DISCIPLINARY PROCEDURES        APPENDIX
                                                                               41   P. 26
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22                   Page 27 of 86 PageID 1496
                   allegedly violated which constitute the basis of the
                   charge(s).
                B. The National Secretary shall cause a copy of the
                   charges to be served upon the accused and the accuser
                   within seven (7) days following receipt of the charges.
                   Such notification shall be by registered mail, return
                   receipt requested to their last known addresses, and
                   shall furnish the accused and the accuser a description
                   of all relevant procedures.
                C. The National Secretary shall send a copy of all charges
                   to the Executive Committee and to the Board of
                   Directors within seven (7) days following his/her receipt
                   of the charges.
                D. Time Limits:
                   (1) Charges based on Section 1.A through Section 1.F
                         of this Article VII must be filed within sixty (60) days
                         after the accuser becomes aware, or reasonably
                         should have become aware, of the alleged offense.
                   (2) Charges based on Section 1.G of this Article VII
                         may not be filed unless and until it has been
                         determined, in a separate legal proceeding (such as
                         a lawsuit), that the Association has violated its legal
                         obligations, or unless and until the Association
                         settles a legal proceeding brought against it by
                         furnishing substantial relief to an opposing party.
                         Charges based on Section 1.G above must be filed
                         within sixty (60) days after the accuser becomes
                         aware, or reasonably should have become aware,
                         of the completion or settlement of the legal
                         proceeding.
                   (3) Charges based on Section 1.H of this Article VII
                         must be filed within sixty (60) days following the
                         Article VII Arbitrator's decision which gives rise to
                         such charge(s).
                E. The accused and accuser may be represented during
                   Article VII proceedings by any individual; however, the
                   APFA will not compensate either party for attorney's
                   fees.

           Section 3. REVIEW OF CHARGES:
            At the first regularly scheduled meeting of the Executive
            Committee following receipt of charges by the National
            Secretary, the Executive Committee shall review the charges
            for timeliness, specificity and validity.
             A. Should the charges be determined to be timely, specific
                  and valid, such charges shall then be forwarded by the
                  National Secretary via registered mail, return receipt
                  requested to the Article VII Arbitrator designated herein

           42                    ARTICLE VII                                  APPENDIX P. 27
                                               HEARINGS AND DISCIPLINARY PROCEDURES
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22                    Page 28 of 86 PageID 1497
                      within seven (7) days following such Executive
                      Committee meeting.
                   B. Charges deemed untimely by the Executive Committee
                      will be dismissed without appeal.
                   C. Charges deemed non-specific by the Executive
                      Committee shall be referred back to the accuser. The
                      accuser may resubmit, one time only, such charges to
                      the National Secretary for review by the Executive
                      Committee at its next regularly scheduled meeting
                      without affecting the time limits of Section 2.D of this
                      Article VII.
                   D. Charges may be deemed invalid and dismissed if the
                      Executive Committee determines that the charges
                      address conduct protected by this Constitution and/or by
                      law (including the LMRDA Bill of Rights). Charges may
                      also be deemed invalid and dismissed if they fail to state
                      a proper claim under Section 1 of this Article VII. Should
                      such charges be dismissed as invalid, the accuser may,
                      within seven (7) days following receipt of notification of
                      dismissal by the Executive Committee, appeal to the
                      Article VII Arbitrator designated herein. If the Article VII
                      Arbitrator determines that the charges are valid, s/he
                      shall so advise the National Secretary, the accused and
                      the accuser, and the charges will be processed in
                      accordance with this Article VII.

                Section 4. SUSPENSION FROM OFFICE:
                  A. If charges are filed against a national officer or elected
                     representative based on Section 1.B, Section 1.C or
                     Section 1.E of this Article VII, the Board of Directors may
                     determine at any time during the pendency of the
                     charges that the alleged conduct giving rise to the
                     charges threatens the APFA's vital interests. The Voting
                     Board of Directors may then, by two-thirds (2/3) vote,
                     suspend the accused's authority as national officer or
                     elected representative until the threat is removed or the
                     Article VII Arbitrator designated herein resolves the
                     charges, whichever occurs sooner.
                  B. A national officer or elected representative suspended
                     pursuant to this section shall be entitled, upon demand,
                     to an expedited resolution of the charges, with a decision
                     rendered within thirty (30) days following the Board of
                     Directors Meeting where the officer or elected
                     representative was suspended.
                  C. If the charges are filed by or against a member of the
                     Executive Committee or the Board of Directors, such
                     member must appoint an alternate member of the
                     Association to participate in the review of the charges as

                ARTICLE VII   HEARINGS AND DISCIPLINARY PROCEDURES        APPENDIX
                                                                              43   P. 28
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22                Page 29 of 86 PageID 1498
                    provided in Section 3 of this Article VII and, when
                    necessary, to participate in the vote regarding the
                    suspension of the member of the Executive Committee
                    or Board of Directors as provided in this Section 4.

           Section 5.           APPOINTMENT OF
                                THE ARTICLE VII ARBITRATOR:
                A. The Board of Directors shall appoint an arbitrator to
                   resolve all charges filed under this Article VII. The
                   Article VII Arbitrator, once appointed, shall serve until
                   s/he resigns or until the Board of Directors determines to
                   appoint a new Article VII Arbitrator.
                B. The Board of Directors may also appoint one or more
                   alternate Article VII Arbitrators who shall have the
                   authority to hear and decide particular charges when the
                   Article VII Arbitrator is not available.
                C. C. The Article VII Arbitrator and any alternate Article VII
                   Arbitrator(s) shall be a person expert in labor law who is
                   a neutral (such as an academic or professional labor
                   arbitrator), who has experience as a neutral in
                   adjudicating internal labor organization disputes, and
                   who has no other prior or current involvement with the
                   APFA.

           Section 6.           JURISDICTION AND AUTHORITY OF
                                THE ARTICLE VII ARBITRATOR:
                A. The Article VII Arbitrator shall have power to resolve all
                   charges referred to him/her during his/her tenure.
                B. The administrative procedures for handling Article VII
                   charges shall be included in the APFA Policy Manual.
                   The Article VII Arbitrator may from time to time propose
                   changes in these administrative procedures, and such
                   changes shall become effective and included in the
                   Policy Manual if they are approved by the Board of
                   Directors. The administrative procedures to be adopted
                   shall be in general compliance with American Arbitration
                   Association rules where practicable, but may not conflict
                   in any respect with the provisions of this Constitution.
                C. The Article VII Arbitrator may, on his/her own motion or
                   upon motion filed by the accused, declare that charges
                   are untimely or do not allege a violation cognizable as
                   charges under this Article VII and thus are dismissed
                   without the need for hearing.
                D. The Article VII Arbitrator may, on his/her own motion, or
                   upon motion filed by the accused, determine that
                   charges are not sufficiently specific and that they will be
                   dismissed unless the accuser amends them to provide
                   sufficient specificity.

           44                    ARTICLE VII                                  APPENDIX P. 29
                                               HEARINGS AND DISCIPLINARY PROCEDURES
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22                    Page 30 of 86 PageID 1499
                   E. The accused may move for summary dismissal of the
                      charges on the ground that the accuser does not have
                      evidence sufficient to sustain the charges and thus there
                      is no need for a full hearing. On receipt of such a
                      motion, the Article VII Arbitrator shall afford the accuser
                      an opportunity to identify evidence that would sustain the
                      charges. If the Article VII Arbitrator concludes, following
                      that opportunity, that the accuser does not have
                      evidence sufficient to sustain the charges, the Article VII
                      Arbitrator may grant summary dismissal of the charges.
                   F. If at any time during the pendency of the charges, the
                      Article VII Arbitrator determines (whether on his/her own
                      motion or the motion of the accused) that the conduct
                      furnishing the basis for the charges is protected by this
                      Constitution and/or by law (including the LMRDA Bill of
                      Rights), the Article VII Arbitrator shall have the authority
                      to dismiss the charges addressed to such protected
                      conduct.
                   G. No ex-parte communication may be had with the Article
                      VII Arbitrator either by the accused, the accuser or by
                      the APFA, or any member of the APFA except with
                      respect to scheduling, location and like administrative
                      matters.
                   H. The decision of the Article VII Arbitrator shall be final and
                      binding upon the accused and the accuser.

                Section 7. COSTS:
                  A. Initial costs of the Article VII proceedings shall be borne
                     by the APFA in accordance with the provisions of Article
                     V of this Constitution.
                  B. In the event a charge is dismissed by the Article VII
                     Arbitrator, or in the event the Article VII Arbitrator does
                     not sustain a charge, up to one-half (1/2) of the fees and
                     expenses of the Article VII Arbitrator and all
                     administrative costs to the APFA relative to that charge
                     may be levied against the accuser by the APFA upon
                     completion of charge proceedings brought under Section
                     1.H of this Article VII.
                  C. In the event the Article VII Arbitrator sustains a charge,
                     costs of the proceedings shall be paid by the APFA and
                     may be offset by a fine levied against the accused in an
                     amount determined by the Arbitrator, if a fine was
                     requested by the accuser.
                  D. In the event that it becomes necessary to enforce an
                     Article VII Arbitration award through judicial proceedings,
                     attorney's fees for those judicial proceedings may be
                     paid or reimbursed by the APFA to the appropriate party
                     seeking such enforcement.

                ARTICLE VII   HEARINGS AND DISCIPLINARY PROCEDURES        APPENDIX
                                                                              45   P. 30
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22             Page 31 of 86 PageID 1500

           Section 8. INTERNAL REMEDIES:
            Members, officers and representatives shall exhaust internal
            remedies under this Article VII for a period not to exceed four
            months prior to taking any legal action against members,
            officers or representatives of the APFA with respect to
            matters cognizable as charges under this Article VII.




           46                 ARTICLE VII                                  APPENDIX P. 31
                                            HEARINGS AND DISCIPLINARY PROCEDURES
                                                                                                             FILED
                                                                                                1/14/2022 11:48 AM
                                                                                   Justice of the Peace, Precinct 3
                                                                                                    Tarrant County
 Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22                 Page 32 of 86 PageID 1501


                                                JP03-22-DC00017757
                                 NO.




DIVERSIFIED CREDIT SYSTEMS,                        §   IN THE JUSTICE           0F THE PEACE
ASSIGNEE FOR THE "ASSOCIATION                      §   COURT
OF PROFESSIONAL FLIGHT                             §
ATTENDANTS"                                        §
Plaintiff,                                         §
                                                   §
V.                                                 §   NO. 3
                                                   §
ROBERT (BOB) ROSS                                  §
Defendant.                                         §   TARRANT COUNTY, TEXAS

                               PLAINTIFF'S ORIGINAL PETITION

T0 THE HONORABLE JUDGE 0F SAID COURT:
         NOW COMES Diversied            Credit Systems, Assignee Of a cont-act (Agreement) 'om

the Association of Professional Flight Attendants, hereinafter called
                                                                        Plaintiff, complaining of and

about Robert (Bob) Ross, hereinafter called Defendant, and for cause of action shows unto the

Court the following:

                             DISCOVERY CONTROL PLAN LEVEL
         1.    Plainti'    intends that discovery be conducted under Discovery Level 3.

                                     PARTIES AND SERVICE
         2.    Plainti‘,    Diversied    Credit Systems (a D/B/A of McGaughey, Reber and

Associates, 1110.), Assignee for the "Association of Professional Flight Attendants", is a business

entity operating in the State of Texas and whose address is P.O. Box 3424, Longview, TX

75606.

         3.    Diversied      Credit Systems, Assignee of the Association of Professional Flight


                                             Page 1 of5

                                                                           APPENDIX P. 32
 Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22                    Page 33 of 86 PageID 1502


Attendants has not been issued a driver's license. Diversied         Credit Systems, Assignee of the

Association of Professional Flight Attendants has not been issued a social security number.

         4.       Defendant Robert (Bob) Ross, an Individual who is a nonresident of Texas, may

be served with process at his home at the following address:          4701 Hayloft Court, E1 Dorado

Hills, CA 95762. Service of said Defendant as described above can be effected by certified mail,

return receipt requested.

                                     JURISDICTION AND VENUE
         5.       The subject matter in controversy is within the jurisdictional limits ofthis court.

         6.       Plaintiff seeks:

                  a.      only monetary relief of $10,000.00 or less, excluding interest, and attorney

fees and costs.

         7.       This court has jurisdiction over Defendant Robert (Bob) Ross, because said

Defendant at the time he purposefully availed himself of the privilege of conducting activities in

the state of Texas was a Texas Resident and resided in Tan'ant County, Texas,               Defendant

executed the attached Transition Agreement (hereinafter referred to as the "contractual

Agreement" or "Agreement") with the Board of Directors for the "Association of Professional

Flight Attendants", who thereafter assigned the contractual Agreement to Plaintiff to collect

certain sums due and owing pursuant to the Agreement.

         8.       Plaintiff would also show that the cause of action arose 'om        or relates to the

contacts of Defendant Robert (Bob) Ross to the state of Texas, thereby conferring specic

jurisdiction with respect to said Defendant.

         9.       Plaintiff would further show that the Agreement was to be performed in Tarrant

Texas.



                                               Page 2 ofS

                                                                             APPENDIX P. 33
 Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22                  Page 34 of 86 PageID 1503


         10.     Venue in Tarrant County is permissive in this cause under Section 15.002(a)(3) of

the Texas Civil Practice and Remedies Code because this county was the
                                                                               principal residence of

Robert (Bob) Ross, Defendant at the time he signed the Agreement.              Defendant resided in

Southlake, Tarrant County, Texas at the time he executed the Agreement, and therefore, Venue is

property in Justice of the Peace, Precinct 3, Tarrant County, Texas.

                                    FACTUAL ALLEGATIONS
         11.     0n or about March 1, 201 8, the Association of Professional Flight Attendants

(hereafter referred to as      "AFPA") entered into a written contract with Robert (Bob) Ross,

providing that Defendant would receive certain funds listed in the contract.          A copy of the
contract is attached as Exhibit "A" and incorporated by reference and for all purposes.

        12.      The Contract has been assigned to the Plaintiff, Diversied    Credit Systems, for all

purposes by Assignor AFPA, but primarily for the purpose of collection of the amounts owed

Plaintiff.

                                     BREACH 0F CONTRACT
        13.      Plaintiff incorporates by reference the allegations set forth above as if the same

were fully set forth herein.

        14.      Plaintiffs Assignor, APFA has met all of its obligations under the Transition

Agreement (Contract) and all sums due Defendant were fully paid and accepted by Defendant.

        15.      All contractual obligations of the Association of Professional Flight Attendants
have been illy    performed.

        16.      Defendant has failed to perform his contractual obligations, specically,           an

accounting was performed by the Certied      Public Accounting rm      of Wood, Stephens & O'Neil.

A copy of that rms     audit showed that Defendant had been paid in excess of the sums due him




                                             Page 3 of5

                                                                              APPENDIX P. 34
 Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22                 Page 35 of 86 PageID 1504


under'the Agreement in the sum of $5,436.47. The rms        Audit report is attached as Exhibit "B"

and attached for all purposes.

        17.     The APFA made demand on Defendant's to reimburse Plainti‘                   for the

overpayments.    A copy of the accounting and Memorandum 'om          the accountant is attached as

Exhibit "B" and incorporated for all puxposes herein.          Defendant has been provided the

accounting and the Accounting nns      report, but Defendant has failed to reimburse APFA for the

overpayments.

        18.   Documentation and demand has been provided Defendant on multiple occasions,

including om    APFA, Assignee, Diversied     Credit Systems and the undersigned Attorney.

                                           DAMAGES
        l9.     Plaintiff has sustained damages within the Comt's jurisdictional limits of this

Court, and as a result of the actions and/or omissions of Defendant described hereinabove,

including, but not limited to:

                Actual or economic damages for $5,436.47.

                                 OTHER RELEF REQUESTED
                                      ATTORNEY'S FEES
       20.      Request is made for all costs and reasonable and necessary attorney's fees

incurred by or on behalf of Plaintiff herein, including all fees necessary in the event of an appeal

ofthis cause to a County Court at Law, Court of Appeals and the Supreme Court of Texas, as the

Court deems equitable and just, as provided by Chapter 38 of the Texas Civil Practice and

Remedies Code.

                                 ALTERNATIVE ALLEGATIONS
       21.      Pursuant to Rules 47 and 48, Texas Rules of Civil Procedure and the rules of




                                            Page 4 of 5

                                                                          APPENDIX P. 35
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22                      Page 36 of 86 PageID 1505


pleadings, allegations in this petition are made in the alternative.




                                              PRAYER
         WHEREFORE, PREMISES CONSIDERED, Plaintiff, Diversied                        Credit Systems,

Assignee of the Association of Professional Flight Attendants, respectfully prays that the

Defendant be cited to appear and answer herein, and that upon a nal            hearing of the cause,

judgment be entered for the Plaintiff against Defendant for damages requested hereinabove in an

amount within the jurisdictional limits of the Court, together with prejudgment and postjudgment

interest at the maximum rate allowed by law, attorney's fees, costs of court, and such other and

irther   relief to which the Plaintiff may be entitled at law or in equity, Whether pled or unpled.


                                               Respectllly   submitted,

                                               /S’/                    R.
                                               Michael R. Rake, Attorney at Law, PLLC
                                               State Bar # 16487600
                                               P.O. Box 1556, Lake Dallas, TX 75065
                                               Tel. & Fax: 940-498-2103
                                               E-mail: mrake1@mrakeattorney.com

                                               Attorney for:
                                               Diversied     Credit Systems, Assignee of the
                                               Association of Professional Flight Attendants




                                             Page 5 of5

                                                                            APPENDIX P. 36
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22                    Page 37 of 86 PageID 1506



                                    TRANSITION AGREEMENT
           This TRANSITION AGREEMENT (here
                                                   inafter referred to as the "Agreement“) is
 entered into between President ROBERT ROSS
                                                      (hereinafter referred to as "ROSS"), and
 the ASSOCIATION OF PROFESSIONAL FLIG
                                                  HT A'ITENDANTS. through its Votin Board
                                                                                         g
 of Directors and on behalf of        and  all  of its ofcers, directors, empl
                                 any                                             oyees. agents,
 members,   and  attorneys, in their ofcial and individual capacities
                                                                          , together with their
 successors both jointly and severally (here
                                             inafter collectively and individually referred to as
“APFA”).
           WHEREAS, President ROSS and APFA. through its Votin Board of
                                                              g         Directors, find it
mutually benecial     and in the best interests of the
                                                         membership to enter into this Transition
Agreement; and
       WHEREAS, President ROSS has previously announced his intention
                                                                      not to seek re-
election for APFA President, and as such the
                                             parti have   es         agreed on the terms of this
Agreement.
       NOW THEREFORE, ln consideration of the mutu
                                                                al covenants contained in this
Agreement, President ROSS and APFA (here        inafter collectively referred to as "the Parties"),
intending to be legally bound. do hereby
                                        stipulate and agree as follows:
       1.       ROSS hereby voluntarily and irrevocably
                                                         resigns from his   position as the
               National President of APFA effective at the
                                                                close of the 2018 APFA
               Convention, and agrees to announce his resig
                                                            nation by the close as well.
      2.       ROSS will have access through the close of business on
                                                                       March 9, 2018 to his
               APFA ofce, les, and computer to naiiz'e his affairs.
                                                                         Starting upon the
               announcement of the resignation, all
                                                   emails, telephonic calls, correspondence
               and affairs regarding or directed to the APFA
                                                                National President shall be
               immediately routed to the successor APFA National President.
      3.       APFA agrees that ROSS will continue to receive from APFA
                                                                                 his current full
               salary and benets,   Including full insurance coverage. throu
                                                                             gh July 31, 201 8.
     4.        APFA agrees to pay ROSS all of his accrued and unused
                                                                               sick and accrued
               and unused vacation time, from
                                                April 1, 2016 through July 31, 2018.
     5.        APFA agrees to pay Ross, upon his reque
                                                           st, a one—time lump sum in the total
               amount of ten thousand dollars
                                             ($1 0,000.00), which represents ROSS’s
               moving expenses. ROSS shall present the movi
                                                            ng expenses to APFA for

  Page 1 of4                            '-



                                                EXHIBIT                    March 1. 201810
                                        .
                                                                 I




                                                I13”                       APPENDIX P. 37
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22                   Page 38 of 86 PageID 1507



                 payment through 201 9.
         6.     APFA and ROSS will each prepare a communication
                                                                               regarding ROSS's
                 resignation.   APFA shall disseminate said communications
                                                                                   simultaneously
                upon the announcement of the resig     nation. Each statement shall be mutually
                agreed upon by both Parties prior to its distribution. Furth
                                                                               er, the Parties will
                mutually agree on talking points that shall be used for
                                                                           responses to inquiries
                from APFA members. the press and the
                                                 ,          general public for use, beginning with
                the announcement.
     7.         The Parties agree that the existence, terms, and content
                                                                           ofthis Agreement are
                completely condential.    ROSS agrees not to disclose the existence, term
                                                                                             s, or
                content of this Agreement to any third
                                                         party, except to his spouse, accountant.
               nancial   advisers, or attorney. APFA agrees not to disclose the
                                                                                        existence,
                terms, or content of this Agreement, except to the
                                                                              signatories to this
                Agreement,   and  to any APFA ofcers, empl
                                                               oyees, accountants or attorneys
                who have an explicit need to know of this
                                                            Agreement in' order to eectuate its
                terms. The Parties shall be respo
                                                       nsible for ensuring in writing" that the
                condentiality provisions of this Agreement are
                                                                 fully eXplained and adhered to
                by anyone to whom permitted disclosures are made
                                                                                pursuant to this
                paragraph. The Parties agree that they will respond to all
                                                                              inquiries regarding
               Ross’ transition with APFA in accordance with the comm
                                                                          unications and talking
               points prepared pursuant to numbered paragraph 6 of this
                                                                             Agreement.
    8.         ROSS agrees not to make, orally or in writin
                                                                g, any statements disparaging
               APFA and/or the Board of Directors, whether or not such state
                                                                                   ments legally
               constitute libel or slander, and whether such
                                                                  statements are made to the
              media, to other individuals, or othenlvise. Likewise, APFA's Boar
                                                                                  d of Directors,
              and its ofcers, employees and
                                                  agents who are aware of this Agreement
              pursuant to the condentiality provisions oi numbered
                                                                           paragraph 7 of this
              Agreement, agree not to make, orally or in writing, any statements
                                                                                     disparaging
              ROSS or his immediate family, whether or not such
                                                                            statements legally
              constitute libel or slander, and whether such state
                                                                       ments are made to the
              media, to other individuals, or otherwise.




 Pagez on                                                                 March 1,201s:1.o


                                                                          APPENDIX P. 38
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22                   Page 39 of 86 PageID 1508



       9.        The current APFA National Vice-President will be included in all discussions
                 with the APFA Board of Directors regard
                                                            ing the lling    of the APFA National
                 Vice-President position.
       10.       The Parties and signatories to this Agreement have
                                                                                carefully read and
                 understand this Agreement and acknowledge that no
                                                                             party has made any
                 representations other than those contained herein.
       11.       The Parties agree that this Agreement constitutes their nal         and complete
                 understanding with respect to the subject matter hereof and supersedes all
                 prior   or   contemporaneous     negotiations,     promises,                    or
                                                                                  agreements
                 representations concerning any matters directly. Indirectly, or
                                                                                 collaterally
                 related to the subject matter of this Agreement. This
                                                                       Agreement may be
                executed in counterparts, each of which shall constitute an
                                                                                original, and all of
                which together shall constitute one and the same
                                                               Agreement. Electronic and
                facsimile copies shall constitute originals for all
                                                                    purposes, including
                enforcement.
      12.       The Parties agree thatthis Agreement cannot be amended or modied
                                                                                             except
                by express written consent of the Parties hereto.
      “l3.      The Parties agree to submit any and all disput
                                                                    es regarding the validity or
                enforcement of this Agreement to a mutually chosen arbitrator whose
                                                                                           decision
                shall be binding on both Parties. The expenses of the arbitrator shall
                                                                                          be borne
                by APFA. Venue shall be by agreement of the parties.
     14.     if any provision, or any part thereof, in this Agreement is found to be invalid
                                                                                                  ,
                such determination shall not affect the validity of
                                                                      any other provision(s) or
                part(s) of this Agreement.
     15.     The terms and conditions of this Agreement shall be
                                                                      binding upon the Parties’
             successors and assigns.

     lN WlTNESS WH EREOF, APFA and President ROSS have
                                                                      executed this agreement




                                                  __szl_z,LLe____
                                                  Date


  Page 3 of 4                                                               March 1. 201 8:1.0


                                                                            APPENDIX P. 39
     Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22                     Page 40 of 86 PageID 1509



      BY APF ‘                       ITS VOTING BOARD OF DIRECTORS):


                 J /UGH  WIWC                          WWW
                               /
     A yM'e
               1(THRO
                                                       Date


                 LC:P’OS
              jukvim
,2

            ZKcki-
     Wanda Sarna
                                                           gé~ / ~ Za/g
                                                      Date
      7/0 u: (:ém"
     ’abert Valenta- ICA—AA                           Date
      1 mew/{x
     J hn Penna]
                                                              J/r/x/
                        DCA-US                        Date

                        mm
     Maureen Walsh Martin -DFW
                                                              an            Kg
                                                      Date

                                     “
                                                              3        I   I
     John   ikides—LAX         .—-
                                                      Date

                                                             ’b 1/              g   / 8’
      aymond
               Lw                                     Date




 'Kim Kaswinkel— PHL                                 Date
                                          h




               .               er                             5i   1   1   IQ
 Mischa! Babi      —-
                        PHX.                         Date




Matt Faust H STL                                     Date




       Page 4 of 4
                                                                                    March 1, 2018:1.0


                                                                                    APPENDIX P. 40
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22                 Page 41 of 86 PageID 1510

  WOOd , Stephens &                                      6300 Ridglea Place, Suite 318
                                                         Fort Worth, TX 76116
  O’Neil, L.L.P.                                         Tele. 817-377-1700
  Certified Public Accountants                           Fax 317-377-1870




                             CONFIDENTIAL MEMORANDUM
 MEMO T0:                APFA Board of Directors and the Executive Committee
 FROM:                   Hal O’Neil, CPA, Pam Bush
 SUBJECT:                Review of officer disbursements and the Bob Ross transit
                                                                                  ion agreement
 DATE:                   October 22, 2020


     The current APFA ofcers. in consultation with the APFA staff
                                                                  attorney and outside counsel,
 requested that our rm review specic former ofcer expen
                                                               se reimbursements and payroll
 disbursements, as weil as the payments arising from the Bob Ross
                                                                          confidential transition
 agreement. This informal engagement is substantially less in        than an audit engagement,
 the objective of which would be the
                                                              scope
                                          expression of an opinion regarding these specic
 disbursements. Accordingly, we do not
                                        express an opinion or any form of assurance regarding
 these disbursements. Our task under this informal
                                                   engagement, was as follows:
 1.   To review the backup for the former ofcers’
                                                  salary disbursement amounts from 2016 - 201 8
      and to determine these base salaries were calculated
                                                             correctly and in compliance with the
      guidelines and pay rates stipulated in the APFA policy manual. Please see the
      schedule A for each ofcer.                                                        enclosed

2. To prepare an overpayment schedule of the accrued and
                                                                unused sick, and accrued and
   unused vacation time payments made to Bob Ross in 201
                                                                  8, similar to the overpayment
   schedules we prepared previously for the other three ofcers.
                                                                       Please see the enclosed
   schedules B and C for each officer. These
                                                overpayment schedules for the other ofcers
   were previously provided to the Board of Directors. Please note
                                                                       the Bob Ross condential
   transition agreement states that he will be      all of his
                                               paid            accrue   d and unused sick, and
   accrued and unused vacation time. This                doesn 't
                                             agreement             specify that the payments be
   made in accordance with the policy manual
                                                  guidelines. Consequently. these payments
   appear appropriate and in compliance with the transition agreem
                                                                      ent. This agreement also
   species reimbursement payments to him of up to $10,000 in actual
                                                                          moving expenses. His
   moving expense reimbursement payments did not exceed this amount.

3. To assist the APFA accounting
                                 department staff in reviewing and organizing the various
   requested documents, as set forth in the ight    attendants Chinery and Lee nancial
   document request.

      Please contact us should the Board of Directors or the Executive Comm
                                                                            ittee have questions
regarding our limited engagement.

                                                    Sincerely,

                                                   ‘Haz ON’eiz, CPA


                                                                         APPENDIX P. 41
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22                                                                         Page 42 of 86 PageID 1511




                                                              C

          National Ofcer:             Bob Russ


                                                           Annual
                                                            salary
                                                                             Dailvamnun:       M                          Payment
                                                                            (dMde 11355!        Dagsmgay
         V: callnn Pav - 2017
                  Odglnalamnunt                      $      101.031.35              276E}                    14 S              3,875.20 chums/311m
                                                                                              Overnaymnnt         S                 -      5       -

         [sick thy-2017
                   Ollglnalamnunt                    S      101,031.36              276.80                   1!! S            3.32160 OK             '-

                                  |                                                           Overpavrnent        s                .         s            .

         Vacation aslckPav-zoH-(adiuslrnentnamIn 2013....allpatdlneuorl
                                                                                              Owen!               s             955.76       S      968.16
                                  I
         Varallon Pav 4017 [temalnlngunusad days par agreemnnll
                  Odginalamuunt-paldEnenarta]        s      114,632.67              314.06                   17   ‘           5,339.02   (pan 512M015)
                  Conedmlculaon        amount        S      101.03156               276.80                   17   .1          45705.50
                                                                                              Dvetnagmenz
                                                                                                                  ‘             63342        3      533.42
                                  |


         Mam-man Pay- zms {rem atning anus ed
                                          dag per agreement}
                  Originalamoum-Ealln erroa)    5     122,121.70                    334.58                  25                9,702.32 Mam/lam
                  Correctalwiattau amount       S     107.8933:                     2355—01                                   8,572.40
                                                                                                            73'
                                                                                              mamamunt                        1,130.42   s 1.1.30.4:
         iSMIPav-ZDIS
                  Odinal            -gaidlnenar[al   S      122,121.69              334.58
                                                                                                                      ‘       4.01.435 1mm
                                                                                                            1y ‘
                  Conuntcatculaunn amount            s      mamas:                  295.60]                 12|               3,541.20
                                                                                              Overpayment         J             1:57.76    S       51.76

         End charm pnvnutvzorl lanua      1-Decem        u, 2017)
                  Duinalamuunt-naidInemzrlai                118,046.02              334.58                  35                11,110.30 madam/20m
                  Correct ralwiation amount                 107,393.92              735.60                  35                10,345.00

                                |
                                                                                              (New                            $64.30         5    1.36430

         End ofTurmPavout-zom [Janna/14m! 31 2m)
                  nrrgInaIamoum-paidtn annual        S      118,045.02                                 20.04 1                5,333.82 {units/25mm
                  Correctalculatlm amuunt            S      107.0933:               354.53!
                                                                                    235.60             20M t                  60443.06
                                                                                              Overpavmant         2             755.75       $     796.75



                                                                                              Overpawnenrsuntotal                            5   5.36M].      "
                                    Mdzumpram-shaung
                                                              "      '
                                                                         wide/812019)” n-r                  «n-n-         "                  $      75m (hummus;

                                                     Totaloverpavment-dueto APFA                                                             $   5,433.47




                                                                                                                                         APPENDIX P. 42
                    Melissa Chinery's February 23, 2022 Wedding to
                             AFA In-House
       Case 4:22-cv-00343-Y Document         Counsel
                                     56-1 Filed 11/09/22Joe Burns
                                                          Page 43 of 86 PageID 1512




APFA Member - Melissa Chinery (Charging Party Against Plaintiff) and Joe
Burns (AFA In-House Counsel) Photos of Wedding held on February 23,
2022--2 months prior to the Ross Award and 1 month before the Vargas
Award was issued.
 From the Left:
 Larry Salas - APFA National
 Vice-President Josh Black -
 APFA National Secretary Erik
 Harris - APFA National
 Treasurer


                                                               APPENDIX P. 43
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 44 of 86 PageID 1513
         Melissa Chinery's February 23, 2022 Wedding to
                AFA In-House Counsel Joe Burns




                                  Larry Salas - APFA Current
                                  Vice-President




                                                         APPENDIX P. 44
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 45 of 86 PageID 1514
          Melissa Chinery's February 23, 2022 Wedding to
                 AFA In-House Counsel Joe Burns




                                                          APFA National
                                                          Secretary - Josh Black




                                                        APFA National Treasurer
                                                        - Erik Harris




                                                         APPENDIX P. 45
Case Melissa     Chinery's
     4:22-cv-00343-Y          February
                     Document 56-1           23, 2022
                                   Filed 11/09/22 Page 46Wedding
                                                         of 86 PageID to
                                                                      1515
                  AFA In-House Counsel Joe Burns




                   (                    Meiis:sa 11 s Post
                            [LJ Lll<e                      V c;:om me nt




                         Vicki Balistreri and 68 otl ers         7 Comments
 Melissa Chinery-Burns at her wedding in Hawaii on February 2022 - months prior to Ross and Vargas
 Awards being issued.

 On the Left: John Nikides - Board of Director and Base President for APFA
 On the Right: Rick Cangy - Former Board of Director for AFA




                                                                           APPENDIX P. 46
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22       Page 47 of 86 PageID 1516
                 Melissa Chinery's February
                23, 2022 Wedding to AFA In-
                 House Counsel Joe Burns




                                      




                                      
APFA Member - Melissa Chinery-Burns (Charging Party against Plaintiff) and Joe Burn - AFA
In-House Counsel with Sara Nelson - International President of AFA.

                                     Sarah Nelson - International President of AFA




                                                              APPENDIX P. 47
                         Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22
                                                                          APFA                                                     Page 48 of 86 PageID 1517

                                              ANNUAL BOARD OF DIRECTORS CONVENTION



                                                                     March 8-10, 2022
                                                        Westin Irving Convention Center at Las Colinas


                               Resolution #: 10




                                                                                     BOS Milenkovic

                                                                                                      CLT Hazlewood



                                                                                                                                    DFW De Roxtra




                                                                                                                                                                                                            PHL Kaswinkel
                                                                                                                                                                                MIA Trautman
                                              Chinery-Lee v Vargas




                                                                                                                                                                  LGA Santana
                          Resolution Name:




                                                                                                                                                    LAX Nikides




                                                                                                                                                                                               ORD Wroble




                                                                                                                                                                                                                                                    Pres Hedrick
                                                                                                                      DCA Pennel
                                              Arbitration Remedy




                                                                                                                                                                                                                              PHX Agee

                                                                                                                                                                                                                                         SFO Ross
                                     Status: Pass
Resolution Information




                                     Maker: Hedrick

                                     Second: Nikides                         YES

                                       Date: 03/10/2022                      NO

                                      Time: 2:55 p.m.                        ABS

                                Affects PM:                                  N/A

                                 Comments:                                    Yes: 10 No: 1 Abstain: 0 Absent: 0 Show of Hands:



                         WHEREAS, APFA Constitution, Article VII provides APFA members a mechanism to hold
                         their representatives accountable through internal hearing procedures facilitated by a neutral
                         third-party arbitrator; and

                         WHEREAS, two such members, Melissa Chinery & Sandra Lee, filed Article VII Charges
                         against previous APFA National Treasurer, Eugenio Vargas, on November 24, 2020; and

                         WHEREAS, these Article VII charges were referred to the designated Article VII Arbitrator,
                         Ruben Armendariz, in accordance with APFA Constitution Article VII, Section 3; and

                         WHEREAS, the Chinery-Lee v Vargas charges were heard on September 14-16, 2021 in Irving,
                         Texas; and

                         WHEREAS, Arbitrator Armendariz rendered a decision in the matter of Chinery-Lee v Vargas
                         on February 18, 2022; and

                         WHEREAS, the remedy states:

                                 “Vargas is to repay APFA for the following:

                                 1. If after the Independent Auditors audit is completed and he/she determines that
                                    Vargas had used the APFA credit card for his own personal use on meals during his


                         Res. # 10                                March 8-10, 2022                                                                                                                                          Page 1 of 2
                                                                                                                                                     APPENDIX P. 48
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22 Page 49 of 86 PageID 1518
APFA
BOARD OF DIRECTORS MEETING

            tenure as National Treasurer, Vargas is hereby Ordered to repay APFA for all meals
            he charged to the APFA credit card.

        2. Vargas is prohibited from serving in any APFA National Officer position or Regional
           Officer position for life.

        3. Vargas is hereby fined and ordered to repay the APFA for half of the Arbitrator’s Fee
           for this arbitration.

        4. The arbitrator shall retain jurisdiction for 90-days over any issue involving this
           remedy only. Moreover, if the Independent Auditor determines any monies are due
           from Vargas, that will be the amount to be assessed or due and the BOD or EC shall
           Order said repayment from Vargas.”

    ; and

WHEREAS, the APFA Board of Directors is authorized and empowered to take any and all
lawful action consistent with the Constitution to safeguard and protect the APFA, and the rights,
privileges, duties and responsibilities of the officers, representatives and members of the APFA.

BE IT THEREFORE RESOLVED, the APFA affirms the APFA Article VII Arbitrator’s
decision and remedy and hereby sanctions the following actions:

    1. The APFA Board of Directors hereby orders APFA National Treasurer, Erik Harris, to
       retain an independent auditor to investigate if Vargas had used the APFA credit card for
       his own personal use on meals during his tenure as National Treasurer. Within 30 days of
       completion, the results of this investigation shall be remitted to the Board of Directors for
       review. After this review, the APFA Board of Directors shall order Eugenio Vargas to
       repay APFA for any monies deemed owed by the independent auditor.

    2. The APFA Board of Directors hereby orders the NBC to maintain a record of the
       Chinery-Lee v Vargas Article VII award to ensure Eugenio Vargas name is removed
       from any Willingness-to-Serve that he may submit for life.

    3. The APFA Board of Directors hereby orders Eugenio Vargas to repay APFA $8,623.17
       for the Article VII Arbitrator’s fees. The National Treasurer shall be charged with
       collecting from Vargas consistent with the APFA Constitution, Policy Manual, and any
       applicable Federal, State, and local laws.

    4. Notwithstanding, should any further fees be incurred by the Article VII Arbitrator as it
       relates to the issuance and implementation of the remedy, fifty percent (50%) of such fees
       shall be remitted to Eugenio Vargas for repayment.




Res. # 10                             March 8-10, 2022                                    Page 2 of 2
                                                                          APPENDIX P. 49
8/1/22, 11:03 PM                                            3.24.22 – APFA Receives Article VII Arbitration Awards – APFA
             Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22                                     Page 50 of 86 PageID 1519




                                                             (https://www.apfa.org/)
                                                         Account (/my-account/) | Log In (/account/login/)



                                            Search here...




    3.24.22 – APFA Receives Article VII Arbitration Awards




    Thursday, March 24, 2022


    On March 19th, Arbitrator Ruben R. Armendariz issued a decision in Article VII charges brought
    under the APFA Constitution and Policy Manual against former APFA National President Bob
    Ross. Arbitrator Armendariz barred Ross from serving in any APFA position for life, ordered Ross
    to resign as San Francisco Base President, ordered Ross to repay APFA a substantial sum of
    money, and ordered an independent audit of certain expenses.


    This decision follows a February 18th, 2022 decision that barred former APFA National Treasurer
    Eugenio Vargas from holding any APFA position for life and fined him half the cost of the
    arbitration, among other remedies.
                                                                                                                            
    Arbitrator Armendariz also ordered sweeping changes in the APFA financial policy, which
    requires training on allowable expenses, and instructed APFA to create a separate body of trained
    forensic accountants. This ruling demonstrates that this organization has spent years operating


https://www.apfa.org/2022/03/24/3-24-22-apfa-receives-article-vii-arbitration-awards/
                                                                                                            APPENDIX P. 50      1/7
8/1/22, 11:03 PM                                            3.24.22 – APFA Receives Article VII Arbitration Awards – APFA
         Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22 Page 51 of 86 PageID 1520
    without proper financial controls. We have attached the decisions below and encourage all
    members to educate themselves on these issues.


    These charges were brought by APFA members Melissa Chinery and Sandra Lee under Article VII
    of the APFA Constitution. We thank them for bringing these issues forward. The fact that we are
    in this place illustrates the need for more reform. You deserve to have your dues money spent
    according to the strictest financial standards. The dues dollars that allow our union to operate
    and provide our paychecks are your dollars, and we have a fiduciary responsibility to safeguard
    union finances.


    When our administration took office, we supported financial transparency and committed to
    upholding the language that members have the right to review the financial information of the
    union under Article III of the APFA Constitution and federal labor law. Previously, this union has
    prevented members from reviewing all financial documents. Following prior legal advice,
    members were only allowed to view monthly financial reports and the LM-2 reports (our annual
    Department of Labor filing). We believe our past outside attorneys and advisors guided us
    improperly. We will continue to ensure members are not kept in the dark about dues spending.


                    To view the Chinery-Lee v Ross Arbitration Award, please click here
       (https://mcusercontent.com/1450c9c25bd3b5096022a9f71/files/7488c141-524c-97d2-1cd8-
                        53b497ea5173/22_Corrected_Decision_Robert_Ross_1.pdf).


                    To view the Chinery-Lee v Vargas Arbitration Award, please click here
       (https://mcusercontent.com/1450c9c25bd3b5096022a9f71/files/2eb32bb3-8897-24c5-50a7-
                             e8be520735c0/22_Decision_Eugenio_Vargas.pdf).


    Next Steps: Ensuring Financial Transparency and Accountability at APFA


    These decisions are a wake-up call for our entire union. As an independent union, we have no
    parent body to scrutinize our actions and must hold ourselves to the strictest standards. In the
    coming months, we will be reviewing the APFA Policy Manual to further reform APFA’s financial
    policies. We will fully cooperate with Arbitrator Armendariz’s decisions and will draw on the
    expertise of legal and financial experts.


    Financial accountability and transparency have been a priority for our administration. We have
    taken several steps to ensure that APFA is handling your dues dollars responsibly, including:
                                                                                                                            

             Increasing membership visibility into our financial reports, including audits, LM-2 filings,
             monthly financial reports, expense and mileage reports, credit card statements, signed
             contracts and agreements, and payroll registers.

https://www.apfa.org/2022/03/24/3-24-22-apfa-receives-article-vii-arbitration-awards/
                                                                                                            APPENDIX P. 51      2/7
8/1/22, 11:03 PM                                            3.24.22 – APFA Receives Article VII Arbitration Awards – APFA
             Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22 Page 52 of 86 PageID 1521
             PA/AR removals (flat rate of 5 hours per day) used for all known meetings (such as Board of
             Director’s Meetings and Executive Committee Meetings). PA/AR days are pre-
             planned absences placed onto a union Representative’s schedule before PBS processes and
             count towards the Representative’s PBS award max (Policy Manual 5.C.1.g
             (https://www.apfa.org/members/)).
             Enforcement of the Financial Reform Initiative resolutions passed at the March 2021 APFA
             Annual Convention, which included the following updates to the APFA Policy Manual:
                   Resolution #8- APFA Issued Credit Cards
                   (https://mcusercontent.com/1450c9c25bd3b5096022a9f71/files/33410129-1e48-
                   4d7f-9286-
                   9085e19b3a86/2021_Conv_08_APFA_Issued_Credit_Cards.01.pdf) creates a new
                   section 5.L in the Policy Manual and limits APFA credit card usage to National Officers.
                   It also requires accountability by ensuring that another National Officer has to sign off
                   on charges, requires strict documentation of all charges, and implements twice-yearly
                   reviews of credit card activity by the Budget Committee. At least one (1) random audit
                   will be performed by the Budget Committee every six (6) months to ensure proper
                   spending, and training on the policy will be required by all incoming National Officers.
                   Resolution #9- APFA Apartments
                   (https://mcusercontent.com/1450c9c25bd3b5096022a9f71/files/c4308b62-2a91-
                   4601-ad04-cfb5a33d7e1a/2021_Conv_09_APFA_Apartments.01.pdf) puts more
                   stringent guidelines on spending and inventory for APFA provided apartments. The
                   Budget Committee shall maintain a table of the approved costs for purchasing new or
                   replacement items. It adds a new inventory system to track all items belonging to
                   APFA.
                   Resolution #10- Business Related Meals
                   (https://mcusercontent.com/1450c9c25bd3b5096022a9f71/files/ce5361e7-6fd8-
                   4da8-8b5c-17d7420fab2d/2021_Conv_10_Business_Related_Meals.01.pdf) adds
                   policy for group meals to ensure compliance with the Labor-Management Reporting
                   and Disclosure Act of 1959 (LMRDA) regarding meals purchased using an APFA credit
                   card. All meal charges must be accompanied by a written explanation of the
                   specific union business conducted during the meal and the full names and titles of all
                   attendees.
                   Resolution #11- Rental Car Policy & APFA Provided Transportation
                   (https://mcusercontent.com/1450c9c25bd3b5096022a9f71/files/3f9e49a6-7fe8-
                   421b-aaed-
                   2a21da0f9494/2021_Conv_11_Rental_Car_Polilcy_APFA_Provided_Transportion.01.p                             
                   df) adds language that any APFA Representative on union business in DFW should
                   make every effort to utilize APFA-owned vehicles before using a taxi, rental cars, or
                   other paid forms of transportation. This resolution also revises, further defines, and
                                  olicy Manual Section 5.H.4 by limiting rental car usage by incoming

https://www.apfa.org/2022/03/24/3-24-22-apfa-receives-article-vii-arbitration-awards/
                                                                                                            APPENDIX P. 52      3/7
8/1/22, 11:03 PM                                            3.24.22 – APFA Receives Article VII Arbitration Awards – APFA
             Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22 Page 53 of 86 PageID 1522
                  National Officers to thirty (30) days, except in extenuating circumstances and only
                  upon approval from the APFA Executive Committee.
                  Resolution #12- National Officer Relocation
                  (https://mcusercontent.com/1450c9c25bd3b5096022a9f71/files/f2c34cd8-f670-
                  44fd-b288-
                  741a6b9fac5f/2021_Conv_12_National_Officer_Relocation.01.pdf) updates the
                  amount allowed for a National Officer to move to DFW. Instead of offering $10,000
                  round trip for a move to DFW, the Budget Committee shall maintain a table of
                  approved relocation costs. Relocation reimbursement may be provided in accordance
                  with the table.This resolution also limits the time in which a National Officer must
                  decide to move to DFW or take an APFA provided apartment. This change allows the
                  National Officer three (3) months from the election date to make their decision.
                  This resolution also limits the amount of time a National Officer may reside in a hotel
                  while deciding to move to DFW or take an APFA apartment. If a National Officer elects
                  to live in an APFA apartment while in DFW, they will not be paid moving expenses if
                  they suddenly change their mind and decide to relocate to DFW.


                      Resolution #13- Collection of Non-Dues Related Monies Owed by APFA
                      Representatives
                      (https://mcusercontent.com/1450c9c25bd3b5096022a9f71/files/82664914-049c-
                      4ad0-92a7-
                      580d909aa465/2021_Conv_13_Collection_of_Funds_from_APFA_Representatives.01.
                      pdf) adds a new section to the APFA Policy Manual, Section 7.J. It states that
                      Representatives owing non-dues related monies to APFA will receive written
                      notification from the National Treasurer and ensures payment or a payment plan
                      within thirty (30) days of receipt of such notification. If no payment is received, the
                      monies will be sent to a collection agency.
                      Resolution #14- Resignation or Recall of a National Officer
                      (https://mcusercontent.com/1450c9c25bd3b5096022a9f71/files/901dadb6-fdd1-
                      4990-bd05-
                      b639a67cb8d1/2021_Conv_14_Resignation_or_Recall_of_a_National_Officer.01.pdf)
                      adds new language. Before this resolution, APFA had no written policy or procedure
                      outlining pay and benefits for a resigning or recalled National Officer. This resolution
                      adds a new Section 6.E to the APFA Policy Manual outlining the pay and benefits for a
                      resigning or recalled National Officer and will remove the possibility of any future
                      National Officer exit agreements.                                                                     



https://www.apfa.org/2022/03/24/3-24-22-apfa-receives-article-vii-arbitration-awards/
                                                                                                            APPENDIX P. 53      4/7
8/1/22, 11:03 PM                                            3.24.22 – APFA Receives Article VII Arbitration Awards – APFA
         Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22 Page 54 of 86 PageID 1523
    We will continue to review policies that have been in place for many years and make the changes
    necessary to ensure APFA is compliant with the Office of Labor-Management Standards (OLMS),
    the Labor-Management Reporting and Disclosure Act of 1959 (LMRDA), and the Internal
    Revenue Service (IRS) standards for labor unions.


    In Solidarity,




    Julie Hedrick
    APFA National President



    Posted in Hotlines - 2022 (https://www.apfa.org/category/hotline-archives/hotlines-2022/) and
    tagged National President (https://www.apfa.org/tag/national-president/)




                                         1004 West Euless Boulevard
                                         Euless, Texas 76040

                                         Phone: (817) 540-0108 (tel:817-540-0108)
                                         Fax: (817) 540-2077 (tel:817-540-2077)



                                         Headquarters
                                         M-F: 9:00AM - 5:00PM (CT)

                                         APFA Phone Reps
                                         M-F: 7:00AM - 7:00PM (CT)

                                         After-Hours Live Chat
                                         M-F: 3:00PM - 11:00 PM (CT)
                                         Sat-Sun: 9:00AM - 5:00PM (CT)




                                         APFA Events                                                                        

                                         2022 Fall Board of Directors Meeting
                                         (https://www.apfa.org/event/2022-fall-board-of-
                                         directors-meeting/)
https://www.apfa.org/2022/03/24/3-24-22-apfa-receives-article-vii-arbitration-awards/
                                                                                                            APPENDIX P. 54      5/7
8/1/22, 11:03 PM                                            3.24.22 – APFA Receives Article VII Arbitration Awards – APFA
             Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22 Page 55 of 86 PageID 1524
                              October 25 @ 9:00 am - October 27 @ 5:00 pm


                                         Employee Number

                                            95108


                                         Password

                                            •••••••


                                            Log In

                                         Register (https://www.apfa.org/account/register-
                                         reset-password/)


                                         (https://www.facebook.com/APFAunity)
                                                                                                   
                                            (https://twitter.com/APFAunity)
                                                                                         
                                            (http://www.linkedin.com/company/associatio
                                                                                                               
                                            n-for-professional-flight-attendants)

                                            (http://www.youtube.com/user/AAflightattend
                                                                                                               
                                            ants)

                                            (https://www.instagram.com/apfaunity)
                                                                                                     
                                         Site Map (/sitemap/)
                                         Privacy Policy (https://www.apfa.org/privacy-
                                         policy/)
                                         Terms of Use (/terms-of-use/)
                                         Jobs (/jobs/)


                                         Wings Foundation
                                         (http://www.wingsfoundation.com/)                                                  
                                         Airline Ambassadors (http://www.airlineamb.org/)
                                         UNICEF/Change for Good
                                         (http://www.unicefusa.org/campaigns/changeforg
                                         ood/)
                                         APA (http://www.alliedpilots.org/)
https://www.apfa.org/2022/03/24/3-24-22-apfa-receives-article-vii-arbitration-awards/
                                                                                                            APPENDIX P. 55      6/7
8/1/22, 11:03 PM                                            3.24.22 – APFA Receives Article VII Arbitration Awards – APFA
             Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22 Page 56 of 86 PageID 1525
                              TWU (http://www.twu.org/)/IAM
                              (https://www.goiam.org/)
                              CWA (https://www.cwa-union.org/)-IBT
                              (https://teamster.org/)




           © 2022 APFA | Powered by Beaver Builder (http://www.wpbeaverbuilder.com/?utm_medium=bb-pro&utm_source=bb-
                                                theme&utm_campaign=theme-footer)




                                                                                                                            



https://www.apfa.org/2022/03/24/3-24-22-apfa-receives-article-vii-arbitration-awards/
                                                                                                            APPENDIX P. 56      7/7
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 57 of 86 PageID 1526
                          Robert Ross      11/17/2021
                                                                      Page 24

1                      IN THE MATTER OF THE HEARING
2    MELISSA CHINERY, Member            )
         and                            )
3    SANDRA LEE, Member                 )
                                        )BEFORE ARTICLE VII
4         AND                           )    ARBITRATOR
                                        )HON. RUBEN B. ARMENDARIZ
5                                       )
     ROBERT ROSS, Member                )
6
7
8
                **************************************
9                         NOVEMBER 17, 2021
10                             VOLUME 2
                **************************************
11
12
13
14              BE IT REMEMBERED that on the 17th day of
15   November, 2021, the above cause came on for hearing
16   before HON. RUBEN R. ARMENDARIZ at the WESTIN IRVING
17   CONVENTION CENTER AT LAS COLINAS, 400 West Las Colinas
18   Boulevard, located in the City of Irving, County of
19   Dallas, State of Texas, whereupon the following
20   proceedings were had.
21
22
23
24
25



             Carson Reporting & Associates            214.346.3434
                                                         APPENDIX P. 57
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 58 of 86 PageID 1527
                          Robert Ross      11/17/2021
                                                                      Page 26

1                               WITNESS INDEX
2
     CATHY LUKENSMEYER                                PAGE
3    Direct Examination by Ms. Chinery................ 54
     Cross-Examination by Ms. Guidry.................. 74
4    Redirect Examination by Ms. Chinery.............. 84
     Recross-Examination by Mr. Ross.................. 90
5
     ERIK HARRIS
6    Direct Examination by Ms. Lee.................... 99
     Cross-Examination by Mr. Ross.................... 132
7    Redirect Examination by Ms. Lee.................. 221
     Recross-Examination by Mr. Ross.................. 231
8
     MICHAEL TRAPP
9    Direct Examination by Ms. Chinery................ 249
     Cross-Examination by Mr. Ross.................... 259
10
     JOHN NIKIDES
11   Direct Examination by Ms. Chinery................ 272
     Cross-Examination by Ms. Guidry.................. 297
12   Redirect Examination by Ms. Lee.................. 321
13
     REPORTER'S NOTE:
14   Due to the horrible acoustics in the hearing room and
     without the use of microphones, there will be noted
15   (unintelligible) several times throughout the
     transcript. I apologize for this; however, if I cannot
16   hear it, I cannot write it.
17   Additionally there are several notations of
     simultaneous speaking or simultaneous discussions
18   throughout the transcript. When several people talk at
     the same time, there is no way to possibly discern who
19   is speaking.
20
21
22
23
24
25


             Carson Reporting & Associates            214.346.3434
                                                         APPENDIX P. 58
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22    Page 59 of 86 PageID 1528
                          Robert Ross      11/17/2021
                                                                       Page 48

1    That is yet to be discovered.
2                      The first charge that they have are
3    credit cards.      There will be no proven willful act of
4    any credit card usage.        I've been frugal.         I've been
5    honest.    I've saved the membership tens of thousands of
6    dollars by my actions and by actions of my family, the
7    move, and otherwise.        We will prove that we have not
8    willfully violated any policy.
9                      Were there mistakes?         Possibly.     Could we
10   have found errors in accounting?               Possibly.    I don't
11   think so.     Could there be a receipt that's unexplained?
12   Possibly.     But I don't think that there's anybody that
13   can go through life and never make a mistake, but the
14   question is were they willful.
15                     We have a question of rental cars, charge
16   number two, violation, rental car.              We have records
17   that show that this should have never been in these
18   charges and the entire charges should have been
19   dismissed for untimely.         We will show documentation
20   that they've known about any questions on rental cars
21   all the way back to 2019.         For them to include that in
22   these charges right here should have been investigated
23   and discovered prior to arbitration.              The process of
24   the Executive Committee did not allow myself to attend
25   that Executive Committee in a timely manner or to



             Carson Reporting & Associates             214.346.3434
                                                          APPENDIX P. 59
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 60 of 86 PageID 1529
                          Robert Ross      11/17/2021
                                                                      Page 49

1    defend myself or any investigative process whatsoever
2    that would have shown that that was untimely.               And if
3    that of -- that charge is untimely within it, the
4    entire charge should have been thrown out for
5    timeliness.
6                      Reimbursement.      They'll show that under
7    policy manual 5G 1B, ground transportation they claim
8    at residence.      I have no idea what they're talking
9    about on this, but I'm positive that through my actions
10   there was no violation of any reimbursement to myself
11   and I look forward to proving that today.
12                     Number four, MEA and SAF expense.            There
13   have been resolutions passed that have cleared up any
14   confusion that was in the policy manual at the time.
15   In clearing up those confusions, the 2021 policy manual
16   is updated to actually include how the Ross
17   administration handled certain MEA and SAF meal
18   expenses to include how we actually did it.               That will
19   also be investigated while we're here today and you
20   will see that there were no MEA and SAF meal expense
21   and certainly no willful intent of any violation.
22                     Number five, charge, payout of vacation,
23   changed the formula.        This is a good topic that should
24   have been investigated and should still be investigated
25   because the terms of Ross' Transition Agreement, though



             Carson Reporting & Associates            214.346.3434
                                                         APPENDIX P. 60
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 61 of 86 PageID 1530
                          Robert Ross      11/17/2021
                                                                      Page 99

1    Treasurer.
2                                ERIK HARRIS,
3    having been first duly sworn, testified as follows:
4                            DIRECT EXAMINATION
5    BY MS. LEE:
6         Q.     Hi, Erik.
7         A.     Hello.
8         Q.     Thank you for coming today.          We know it's been
9    quite the week, so we appreciate it.
10        A.     Thank you.
11        Q.     So again, what is your name?
12        A.     Erik Harris.
13        Q.     Where are you employed?
14        A.     American Airlines and APFA.
15        Q.     Okay.    What is your position at APFA?
16        A.     I'm the National Treasurer.
17        Q.     How long have you been employed at American
18   Airlines?
19        A.     About eight years.
20        Q.     Okay.     Besides National Treasurer, have you
21   held any other positions -- positions at APFA during
22   your career?
23        A.     Yes, various positions.        Most recently --
24   well, prior to this position, I was a contract chair.
25   I served on the budget committee pretty much my entire



               Carson Reporting & Associates          214.346.3434
                                                         APPENDIX P. 61
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 62 of 86 PageID 1531
                          Robert Ross      11/17/2021
                                                                     Page 100

1    career.
2         Q.     And in your role as National Treasurer, have
3    you been responsible for responding to requests to see
4    financial information?
5         A.     Yes.
6         Q.     Did you receive requests from Melissa and
7    myself to come down and see financial records?
8         A.     Yes.
9         Q.     And did you set up times for us to see the
10   information?
11        A.     Yes.
12        Q.     Approximately how many times have we come down
13   to review information?
14        A.     About five to 10.
15        Q.     So have you been present with myself and
16   Melissa when we came down?
17        A.     Yes.
18        Q.     If you were not present, who was present?
19        A.     I believe there was only one time and my
20   assistant, Robert, was there and Margot has been there
21   and there were a couple occasions where all four
22   Officers were there.
23        Q.     So we were never alone -- alone with these
24   financial documents?
25        A.     That's right.



               Carson Reporting & Associates          214.346.3434
                                                         APPENDIX P. 62
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 63 of 86 PageID 1532
                          Robert Ross      11/17/2021
                                                                     Page 101

1         Q.     Who was the Treasurer before you took office?
2         A.     Craig Gunter.
3         Q.     And before him?
4         A.     Eugenio Vargas.
5         Q.     How would you describe the state of the Union
6    financial records when you took office?
7         A.     They were -- it was pretty bad, in bad shape.
8         Q.     Who has the responsibility under APFA
9    Constitution to maintain the financial records?
10        A.     The National Treasurer does.
11        Q.     Did you receive a subpoena from Melissa and
12   myself, the charging parties, for financial documents
13   related to this hearing?
14        A.     Yes.
15        Q.     And did you oversee the efforts to locate and
16   provide those documents?
17        A.     Yes.
18        Q.     Can you explain the steps taken to ensure
19   which documents you had?         Oh, okay.      I'll tell you
20   what, I want you to look at Exhibits 8 through 46 in
21   the big book.
22        A.     Okay.
23                      MS. LEE:   Oh, we need -- that too.
24                      THE ARBITRATOR:      Which one, the blue
25   one?



               Carson Reporting & Associates          214.346.3434
                                                         APPENDIX P. 63
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 64 of 86 PageID 1533
                          Robert Ross        11/17/2021
                                                                     Page 102

1                       MS. LEE:    Yeah.
2                       MS. CHINERY:      Hold on.     I'm coming.
3                       MS. LEE:    We'll give you yours.
4                       THE ARBITRATOR:      Oh, okay.     I guess we...
5                       MS. LEE:     I'm going to move to submit
6    Exhibits 8 through 46 into evidence, which are
7    financial documents.
8                       THE ARBITRATOR:       You got to prove them
9    up first.
10                      MS. LEE:    Okay.
11        Q.     (BY MS. LEE)       Are there any items you were
12   unable to locate from the subpoena?
13        A.     Yes.
14        Q.     Okay.   I want you to take a look at those
15   documents, 8 through 46.
16        A.     Okay.
17                      MR. ROSS:    8 through 46?
18                      MS. LEE:     8 through 46.      Take your time.
19                      MR. ROSS:    I have 27 here.
20                      MS. LEE:    I think it's 46.
21                      MR. ROSS:    8 through 46?
22                      MS. LEE:    8 through 46.
23                      MR. ROSS:    So --
24                      (Simultaneous speaking.)
25                      MS. LEE:    She's going to give them to



               Carson Reporting & Associates          214.346.3434
                                                          APPENDIX P. 64
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 65 of 86 PageID 1534
                          Robert Ross       11/17/2021
                                                                     Page 105

1    A list of hotels for Bob Ross.          All paperwork for
2    rental cars.       Any equipment purchase.        Correspondence
3    with the collection agency regarding Ross' failure to
4    provide information.        Emails from -- between Debbie
5    Hoover and Eugenio regarding repayment.              Receipts for
6    hotel stays, U-Hauls, and a list of vacation days.
7    Accounting of vacation payout and Bob Ross' exit -- Bob
8    Ross' exit package and documents from outside Counsel,
9    Mike (sic) Richards.
10        Q.     Okay.   Can you explain the steps that we took
11   to -- that you took to give us these documents besides
12   the subpoena?       Had we -- had we gone over these
13   documents?
14        A.     Yes.    So for these documents, are you
15   saying -- what was the question?
16        Q.     Those financial documents.
17        A.     But what was the question?
18        Q.     Okay.   So the documents that you have in front
19   of you are the documents that we subpoenaed?
20        A.     Yes.    Yes.
21                      MS. LEE:    Okay.   So these are Exhibits 8
22   through 46, which I'd have like -- like to have
23   admitted into evidence, which are financial documents.
24                      THE ARBITRATOR:      Any objection?
25                      MR. ROSS:    I think we've already



               Carson Reporting & Associates          214.346.3434
                                                         APPENDIX P. 65
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 66 of 86 PageID 1535
                          Robert Ross        11/17/2021
                                                                    Page 106

 1   established on the credit cards that there was a
 2   protocol and that any credit card submitted went
 3   through its proper channels and was approved.               So now
 4   we're going to get into every one, so there's a lot of
 5   papers here and I'm just now getting --
 6                     MS. CHINERY:       They were all
 7                     MR. ROSS:        and I've not
 8                     MS. CHINERY;          sent to you.
 9                     MR. ROSS:        been able to go through.
10                     THE ARBITRATOR:        Let me try to sum it up
11   for you.
12                     MR. ROSS:     Okay.
13                     THE ARBITRATOR:       Subpoena duces tecum was
14   issued to him and he complied with the subpoena duces
15   tecum and all of these exhibits, the credit cards,
16   monthly reports, weekly reports, and mileage and
17   everything else, he submitted to the party that asked
18   for the subpoena.       She's      he's already looked at it.
19   He's verified it.       Now I'm asking you do you want to
20   object to that inclusion into the record or -- or will



                                                                            I
21   vou approve it?
22                     MR. ROSS:     I don't know that I'm           I'm
23   comfortable approving it all in the records as a bundle
24   unless we go through each particular one and then put
25   it in the record that way.         Some of the stuff



             Carson Reporting & Associates            214.346.3434
                                                          APPENDIX P. 66
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 67 of 86 PageID 1536
                          Robert Ross       11/17/2021
                                                                     Page 107

1                      MS. CHINERY:     Objection, we -- we --
2                      MR. ROSS:     -- I'm still speaking -- if
3    some of this stuff could be entered into the record and
4    we get into it and find out it's not correct, not true,
5    now it's been entered into the record -- record.                So I
6    am not familiar enough with protocol to make sure
7    that --
8                      MS. CHINERY:        You've had these documents
9    for months.
10                     THE ARBITRATOR:        Well look, let's --
11   let's get something -- off the record.
12                     (Discussion off the record.)
13                     THE ARBITRATOR:        I hear -- I hear your
14   concern, but all we're -- we're -- we're accepting this
15   for the reason that he -- he complied with the subpoena
16   and that's what these documents are, nothing else.
17   We're not saying that they're true, correct or
18   whatever, we're just submitting it in based upon the
19   duces tecum.      Okay?    Okay.   It's -- do you still have
20   an objection?
21                     MR. ROSS:     No.
22                     THE ARBITRATOR:        Okay.    Hearing no
23   objection, charging party CP Exhibit 8 through 46 -- is
24   it 8 --
25                     MS. CHINERY:     Yes.



             Carson Reporting & Associates            214.346.3434
                                                         APPENDIX P. 67
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 68 of 86 PageID 1537
                          Robert Ross      11/17/2021
                                                                     Page 324

1                      MS. CHINERY:     I'm kidding.       I'm kidding.
2                      THE ARBITRATOR:      I said -- I said one
3    question.
4                      (Simultaneous discussions.)
5                      MS. CHINERY:     Reserve the right to --
6                      THE ARBITRATOR:      That's it.
7                      THE WITNESS:     Okay.
8                      THE ARBITRATOR:      That's it.
9                      (Proceedings recessed at 4:22 p.m.)
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25



             Carson Reporting & Associates            214.346.3434
                                                         APPENDIX P. 68
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22     Page 69 of 86 PageID 1538



01ÿ345ÿ673358ÿ9ÿ8 387391ÿ53551ÿ
ÿ ÿ ÿ ÿ ÿ ÿ ÿ
657ÿ4158ÿ ÿ ÿ ÿ ÿ
7187ÿ55ÿÿ ÿ ÿ ÿ ÿ ÿ835ÿ00ÿ4785ÿ
ÿ ÿ ÿ ÿ ÿ ÿ ÿ 97391ÿ9ÿ ÿ9133!391ÿÿ
ÿ  ÿ4781ÿ783ÿ65" 58ÿÿ 71ÿ ÿ9ÿ671!7ÿ
ÿ ÿ #713 ÿ ÿ ÿ ÿ
ÿ ÿ ÿ ÿ ÿ ÿ ÿ
  1ÿÿ ÿ ÿ ÿ ÿ ÿ
ÿ ÿ ÿ ÿ ÿ ÿ ÿ
9583ÿ9$ÿ98"58ÿ ÿ%73917ÿ ÿ
85513ÿ ÿ ÿ ÿ ÿ ÿ
ÿ ÿ ÿ ÿ ÿ ÿ ÿ
ÿ  ÿ4785ÿ783ÿ65" 58ÿ ÿ
ÿ ÿ #&551713ÿÿ ÿ ÿ
ÿ ÿ ÿ ÿ ÿ ÿ ÿ
ÿ
ÿ
            '6%( ÿ&00)%ÿ%&ÿ6&*ÿ6)&00 (0)%ÿ
ÿ
5985ÿ                               3581735ÿ835ÿ00ÿ8 387398ÿ! 51ÿ+ÿ
                                      8"5178,ÿ
ÿ
ÿ
75ÿ71ÿ&735ÿ9ÿ-5781ÿ          (45ÿ.531ÿ08/1ÿ91/51391ÿ51358ÿ73ÿ7ÿ
                                    917$ÿ011ÿ.53ÿ7ÿ917ÿ9!5/78$ÿ
                                    9735ÿ1ÿ345ÿ3ÿ9ÿ08/1$ÿ(527+ÿÿ
                                    5!15ÿ67$ÿ8186$ÿ9131!5ÿ39ÿ%9/5" 58ÿ69ÿ71ÿ6:$ÿ
                                    8186ÿ
ÿ
  ;;578715ÿ
ÿ
        98ÿ4781ÿ783ÿ65" 58ÿ 657ÿ4158$ÿ5;8551373/5ÿ
       ÿ #713 <ÿÿ ÿ 7187ÿ55$ÿ5;8551373/5ÿ
       ÿ ÿ ÿ ÿ ÿ ÿ
       ÿ
        98ÿ4785ÿ783ÿ65" 58ÿ = 3ÿ>9"5,ÿ7$ÿ5;8551373/5ÿ
       ÿ #&551713ÿÿ ÿ >17ÿ>!8$ÿ5;8551373/5ÿ
       ÿ ÿ ÿ ÿ ÿ 9583ÿ9$ÿ5;8551373/5ÿ
       ÿ
       ÿ
ÿ
ÿ
ÿ
ÿ

                                                           APPENDIX P. 69
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22                         Page 70 of 86 PageID 1539
012ÿ45667898 7ÿ8ÿ ÿ0898ÿ ÿÿ
ÿÿÿÿÿÿÿÿ78ÿÿ8ÿ
ÿ               ÿ"#$ÿ%&"#ÿ'()ÿ*+ÿ,(-.#ÿ/0//1ÿ"#$ÿ2'$-345$'ÿ(-64"-("*-ÿ4332$'ÿ(ÿ7$.434*ÿ4ÿ"#$ÿ(6*8$ÿ
9(""$-:ÿ;ÿ"#$ÿ*-454(<ÿ=$9$')1ÿ"#$ÿ2'$-345$'ÿ(-64"-("*-ÿ-$>2$3"$'ÿ?@A?ÿ"*ÿ#4-$ÿ(ÿ+*-$34.ÿ
(2'4"*-ÿ"*ÿ(2'4"ÿ.$-"(4ÿ4"$93ÿ*+ÿ"#43ÿ.(3$ÿ"*ÿ4'$"4+)ÿ(<<ÿ4(BB-*B-4("$ÿ.#(-5$3ÿ<43"$'ÿ4ÿ4"$9ÿ%:1ÿ
%C(:D1ÿ%C6D:1ÿ%C.:D1ÿ('ÿ%C':Dÿ.*.$-45ÿ7$+$'("ÿ=*33:ÿ
ÿ
               ;ÿ(..*-'(.$ÿE4"#ÿ"#$ÿ*-454(<ÿ-$9$')1ÿ"#$ÿ?@A?ÿ#4-$'ÿF*-E$<<ÿG(.H3*1ÿF$-"4+4$'ÿ
@26<4.ÿ?..*2"("3ÿ"*ÿ.*'2."ÿ"#$ÿ-$>2$3"$'ÿ(2'4"3:ÿ ÿ?2523"ÿI1ÿ/0//1ÿ"#$ÿ;'$B$'$"ÿ
?..*2"("J3ÿ?2'4"ÿ=$B*-"ÿE(3ÿ.*9B<$"$'ÿ('ÿ32694""$'ÿ"*ÿ"#$ÿ?@A?:ÿK#43ÿ-$B*-"ÿE(3ÿ
3263$>2$"<)ÿ"-(394""$'ÿ"*ÿ"#43ÿ(-64"-("*-ÿ"*ÿ-$84$Eÿ('ÿ"*ÿ4332$ÿ(ÿLM2BB<$9$"(<ÿ7$.434*ÿ('ÿ
=$9$')ÿ,*'4+4.("4*:Nÿÿ
               ÿ
               K#$ÿ(-64"-("*-ÿ#(3ÿ-$84$E$'ÿ"#$ÿ;'$B$'$"ÿ?..*2"("J3ÿ?2'4"ÿ=$B*-"ÿ('ÿ+4'3ÿ
7$+$'("ÿ=*33ÿ#(3ÿ84*<("$'ÿ.$-"(4ÿ4'$"4+4$'ÿ4"$93:ÿK#231ÿ"#$ÿ,(-.#ÿ%&1ÿ/0//ÿ-454(<ÿ=$9$')ÿ
43ÿ#$-$6)ÿ9*'4+4$'ÿ"*ÿ-$+<$."ÿ"#$ÿ?2'4"*-3Jÿ4'$"4+4$'ÿ4"$93:ÿ?..*-'45<)1ÿ"#$ÿ(-64"-("*-ÿ+4'3ÿ
"#*3$ÿ9*$"(-)ÿ(9*2"3ÿ+*2'ÿ4(BB-*B-4("$ÿ(-$ÿ*Eÿ326O$."ÿ+*-ÿ-$B()9$"ÿ"*ÿ?@A?:ÿ
?''4"4*(<<)1ÿ"#$ÿ?2'4"*-3ÿ48*4.$3ÿ+*-ÿ3$-84.$3ÿ-$'$-$'ÿ3#(<<ÿ6$ÿ4.<2'$'ÿ+*-ÿ-$B()9$":ÿ
               ÿ
                                                            011 PÿQ RSQTÿ
               ÿ
               ;"ÿ43ÿ#$-$6)ÿ-'$-$'ÿ"#("ÿ7$+$'("ÿ=*33ÿ3#(<<ÿ-$B()ÿ"#$ÿ?@A?ÿ"#$ÿ+*<<*E45ÿ(9*2"3ÿÿ
"#$ÿ(2'4"*-3ÿ4'$"4+4$'ÿ(3ÿ4(BB-*B-4("$:ÿK#$ÿ(..*2"("J3ÿ?2'4"ÿ=$                  B*-"ÿ43ÿ(ÿ"#*-*25#ÿ$UB<(("4*ÿ
*+ÿ"#$ÿ(2'4"*-J3ÿ+4'453ÿ('ÿ"#*3$ÿ(9*2"3ÿ+*2'ÿ4(BB-*B-4("$:ÿÿ                   %
ÿ
               %C(DVÿ;(BB-*B-4("$ÿ.*3"3ÿ.<(49$'ÿ(3ÿ9*845ÿ$UB$3$3:ÿ ÿ ÿ W:ÿÿÿÿÿXXI:0Iÿ
               %C6DVÿ;(BB-*B-4("$ÿ.-$'4"ÿ.(-'ÿ.#(-5$3ÿ+*-ÿ9$(<3ÿ('ÿB$-3*(<ÿ4"$93:ÿ ÿÿ%/1ÿ/XY:00ÿ
               %C.DVÿ;(BB-*B-4("$ÿ.*3"3ÿ-$<("$'ÿ"*ÿ-$"(<ÿ.(-3:ÿ ÿ ÿ ÿ ÿÿÿÿZ1ÿYIY:[\ÿ
               %C'DVÿ;(BB-*B-4("$ÿ.*3"3ÿ-$<("$'ÿ"*ÿ94<$(5$ÿ"*ÿM(.-(9$"*ÿ(4-B*-":ÿÿ ÿÿÿÿÿÿÿÿX/I:XZÿ
               %C'DVÿ;(BB-*B-4("$ÿ.*3"3ÿ-$<("$'ÿ"*ÿ(4-B*-"ÿB(-H45:ÿÿÿÿÿÿÿÿÿÿÿÿÿ ÿ ÿÿÿÿÿÿÿÿ%0X:00ÿ
ÿ ÿ ÿ ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ]ÿÿÿÿ^_àabcdefÿ
ÿ 5ÿg82ÿ
ÿ 0Ih[%h/0//ÿ ÿ ÿ ÿ ÿ ÿ ÿ ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿWÿÿÿÿÿÿÿÿ%I0:00ÿ
ÿ 0Zh[0h/0//ÿ ÿ ÿ ÿ ÿ ÿ ÿ ÿ ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ[1[/I:00ÿ
               0Xh[%h/0//ÿ ÿ ÿ ÿ ÿ ÿ ÿ ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ%%1000:00ÿ
               0\h0Ih/0//ÿ ÿ ÿ ÿ ÿ ÿ ÿ ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ[I0:00ÿ
               ÿ ÿ ÿ S 7ÿÿ ÿ ÿ ÿ ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ]ÿÿÿdij̀^kc__ÿ
ÿ
       /:ÿ=*33ÿ43ÿ#$-$6)ÿ-'$-$'ÿ"*ÿ499$'4("$<)ÿ-$B()ÿ"#$ÿ?@A?ÿ]kìabcimÿB$-ÿ"#$ÿ+4'45ÿ*+ÿ"#$ÿ
               ?@A?ÿn*(-'ÿ*+ÿ74-$."*-3:ÿ? ÿ4'$B$'$"ÿ(..*2"45ÿ+4-9ÿ'$"$-94$'ÿ"#$ÿ+*-92<(ÿ23$'ÿ
               "*ÿ'$"$-94$ÿ"#$ÿ'(4<)ÿ-("$ÿ(33$33$'ÿ+*-ÿ34.Hÿ('ÿ8(.("4*ÿB()*2"ÿE(3ÿ4.*--$.":ÿ
       [:ÿ=*33ÿ43ÿ#$-$6)ÿ-'$-$'ÿ"*ÿ-$B()ÿ"#$ÿ?@A?ÿ]jd̀_bcdaÿ+*-ÿ<$(345ÿ(ÿ(B(-"9$"ÿ("ÿ"#$ÿn$(-ÿ
               F-$$HÿF*9B<$UÿE#$-$ÿ#$ÿ#('ÿ*ÿ4"$"4*ÿ*+ÿ*..2B)45:ÿ
       Y:ÿ=*33ÿ43ÿ#$-$6)ÿ+4$'ÿ('ÿ-'$-$'ÿ"*ÿ-$B()ÿ"#$ÿ?@A?ÿ+*-ÿ(<<ÿ*+ÿ"#$ÿ?-64"-("*-J3ÿA$$ÿÿ*+ÿ
               ]d_ÿ̀^dmcebÿ+*-ÿ"#43ÿ(-64"-("4*:ÿ
       I:ÿ=*33ÿ43ÿ#$-$6)ÿ-'$-$'ÿ"*ÿ-$B()ÿ]ab̀amc__ÿ"*ÿ"#$ÿ?@A?ÿ+*-ÿ(<<ÿ*+ÿ"#$ÿ+2-4"2-$ÿ#$ÿ#('ÿ
               B2-.#(3$'ÿ('ÿ'$<48$-$'ÿ"*ÿ#43ÿ-$34'$.$ÿ<*.("$'ÿ4ÿM*2"#ÿo(H$1ÿK$U(3:ÿ
ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ
pÿ,-:ÿ=*33ÿ.(ÿ-$>2$3"ÿ(ÿ.*B)ÿ*+ÿ"#$ÿ(2'4"*-J3ÿ-$B*-"ÿ+-*9ÿ"#$ÿ?@A?ÿ4+ÿ#$ÿ#(3ÿ*"ÿ(<-$(')ÿ-$.$48$'ÿ(ÿ.*B)ÿ*+ÿ4":ÿÿÿÿ
ÿ                                                      ÿ
                                                                                  APPENDIX P. 70
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22              Page 71 of 86 PageID 1540
012ÿ45667898 7ÿ8ÿ ÿ0898ÿ ÿÿ
ÿÿÿÿÿÿÿÿ78ÿÿ8ÿ
    ÿ"#$$ÿ&$ÿ'(#)&*&+,-ÿ.(#/ÿ$,(0&12ÿ&1ÿ314ÿ#..&5&36ÿÿ'#$&+&#1ÿ7&+)&1ÿ+),ÿ89:8ÿ#(231&;3+&#1ÿ
      +)3+ÿ&$ÿ$,+ÿ.#(+)ÿ31-ÿ&156<-,-ÿ&1ÿ+),ÿ89:8ÿ=#1$+&+<+&#1ÿ31-ÿ9#6&54ÿ>31<36ÿ+)3+ÿ&$ÿ5#0,(,-ÿ
      #(ÿ&-,1+&.&,-ÿ?.ÿ"#$$ÿ5<((,1+64ÿ)#6-$ÿ314ÿ#..&5&36ÿ'#$&+&#1ÿ'(,$,1+64@ÿ),ÿ&$ÿ+#ÿ(,$&21ÿ$3&-ÿ
      '#$&+&#1ÿA)&$ÿ&$ÿ+#ÿ*3(ÿ"#$$ÿ.(#/ÿ314ÿ#..&5&36ÿ'#$&+&#1ÿ.#(ÿ6&.,ÿ#+),(ÿ+)31ÿ+)3+ÿ#.ÿ/,/*,(ÿ
    BÿA),ÿ89:8ÿ&.ÿ&+ÿ)3$1C+ÿ-#1,ÿ$#@ÿ/<$+ÿ5(,3+,ÿ3ÿ$,'3(3+,ÿ*#-4ÿ#.ÿ+(3&1,-ÿ.#(,1$&5ÿ
      355#<1+31+$ÿ+#ÿ#0,($,,ÿ+),ÿ311<36ÿ3<-&+ÿ31-ÿ+#ÿ5(,3+,ÿ'(#5,-<(,$ÿ31-ÿ(,5#//,1-3+&#1$ÿ+#ÿ
      '(,56<-,ÿ.(3<-ÿ.#(ÿ+),ÿDEFC$ÿ(,0&,7ÿ31-ÿ35+&#1ÿ+#ÿ*,ÿ&156<-,-ÿ7&+)&1ÿ+),ÿ9#6&54ÿ>31<36ÿ
      G3+&#136ÿE..&5,($ÿ#(ÿE..&5,($ÿ7)#ÿ)30,ÿ+),ÿ3<+)#(&+4ÿ+#ÿ,H+,1-ÿ89:8ÿ+#ÿ5(,-&+ÿ#(ÿ<$,ÿ#.ÿ
      31ÿ89:8ÿ5(,-&+ÿ53(-ÿ/<$+ÿ*,ÿ),6-ÿ,5#1#/&53664ÿ(,$'#1$&*6,ÿA),ÿ6312<32,ÿ5(,3+,-ÿ/<$+ÿ
      *,ÿ0,(4ÿ56,3(ÿ31-ÿ<13/*&2<#<$ÿA(3&1&12ÿ#0,(ÿ+),ÿI>"F8ÿ/<$+ÿ*,ÿ3ÿ(,J<&(,/,1+ÿ.#(ÿ366ÿ
      G3+&#136ÿE..&5,($ÿ#(ÿ314ÿ',($#1ÿ7)#ÿ531ÿ,H+,1-ÿ89:8ÿ+#ÿ5(,-&+ÿ31-ÿ7)#/ÿ&$ÿ2&0,1ÿ31ÿ
      89:8ÿ5(,-&+ÿ53(-ÿA),$,ÿ&1-&0&-<36$ÿ/<$+ÿ$&21ÿ3ÿ-#5</,1+ÿ-,563(&12ÿ31-ÿ3++,$+&12ÿ+)3+ÿ
      +),4ÿ)30,ÿ(,3-ÿ31-ÿ<1-,($+31-ÿ+),&(ÿ(,$'#1$&*&6&+&,$ÿ&1ÿ<$&12ÿ31ÿ89:8ÿ5(,-&+ÿ53(-ÿ#(ÿ
      ,H+,1-&12ÿ5(,-&+ÿ+#ÿ+),ÿ89:8ÿ.#(ÿ(,1+36ÿ53($@ÿ3'3(+/,1+$@ÿ,+5@ÿ31-ÿ+)3+ÿ1,26&2,15,ÿ7&66ÿ1#+ÿ
      *,ÿ+#6,(3+,-ÿ31-ÿ7&66ÿ*,ÿ-,36+ÿ7&+)ÿ$,0,(,ÿ',136+&,$ÿÿ
    KÿA),ÿ3(*&+(3+#(ÿ$)366ÿ(,+3&1ÿL<(&$-&5+&#1ÿ#0,(ÿ314ÿ&$$<,ÿ&10#60&12ÿ+)&$ÿ(,/,-4ÿ.#(ÿ#164ÿMNÿ
      -34$ÿ.(#/ÿ+),ÿ-3+,ÿ#.ÿ+)&$ÿO<''6,/,1+36ÿF,5&$&#1ÿ31-ÿ",/,-4ÿ>#-&.&53+&#1ÿÿ
ÿ
58ÿ8ÿPQÿÿÿ55RÿPSPPRÿÿ4 ÿ RÿT8UVÿ
ÿ


ÿ                                  ÿ




ÿ                                              ÿ
                                                                      APPENDIX P. 71
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22          Page 72 of 86 PageID 1541




In the Matter of Arbitration Between__
                                         )
Melissa Chinery                          )
Sandra Lee                               )     RE: Article VII Charges
                                         )     Violations of APFA Constitution
      APFA Charging Party Members        )     and APFA Policy Manual
           (Plaintiff)                   )
                                         )
And                                      )
                                         )
Robert Ross, Former APFA National        )
President                                )
                                         )
      APFA Charged Party Member          )
           (Defendant)                   )
                                         )
__________________________________

Before:                                  Alternate Article VII Arbitrator Ruben R.
                                         Armendariz



Place and Dates of Hearing:              The Westin Irving Convention Center at Las
                                         Colinas, 400 West Las Colinas Boulevard,
                                         located in the City of Irving, Texas.

                                         June 16, 2021, continued to November 17 and 18,
                                         2021

Appearances:

      For Charging Party Members:        Melissa Chinery, Representative
            (Plaintiff’s)                Sandra Lee, Representative


      For Charged Party Member:          Kit Gomez Alba, Esq.
            (Defendant)                  Gina Guidry, Representative
                                         Robert Ross, Representative




                                                                 APPENDIX P. 72
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22                             Page 73 of 86 PageID 1542



                                              INTRODUCTION

        This is an Article VII Hearing that was heard at the Westin Irving Convention Center at
Las Colinas, Irving, Texas on June 16, 2021 and continued to November 17 and 18, 2021. The
arbitration hearing was transcribed by Carson Reporting & Associates.

        Charging Party Melissa Chinery and Sandra Lee, will be hereinafter referred to as the
“Plaintiff.” Charged Party Robert Ross, will be hereinafter referred to as the “Defendant.”

       Plaintiff presented for testimony Cathy Lukensmeyer, Erik Harris, Michael Trapp, John
Nikides and Melissa Chinery.

         Defendant presented for testimony Casey Veloso, Anthony Thuriault and Robert Ross.

        All of these witnesses were afforded full opportunity to be heard, to be examined, and to
be cross-examined. The parties were allowed to introduce evidence on the issues. Based on the
entire record, my observation of the witnesses, examination of the evidence, exhibits presented,
post-hearing briefs 1 submitted, and arguments presented therein, this arbitrator makes the
following findings and renders the following Discussion, Opinion, and Award.

                                                 THE ISSUES

        Plaintiff submits the issue to be addressed by the Alternate Article VII Arbitrator is stated
as follows:

         Did Bob Ross, the Defendent herein violate the APFA Policy Manual and the
         APFA Constitution by engaging in malfeasance, fraud, misappropriation of funds
         while he was in office during the term of April 1, 2016 to March 2, 2018. If so,
         what shall be the appropriate remedy?

    Defendant submits the issue to be addressed by the Alternate Article VII Arbitrator is stated as
follows:

         Whether the Plaintiff’s allegations raised against him are true or false? Did former
         National President Ross knowingly or “willfully” violate any express Article of the
         APFA Constitution or Policy Manual? If so, what is the appropriate remedy?

                                                     FACTS

       The facts in this matter center on Defendant Ross assuming office as the APFA National
President and moving to Dallas, TX during the months of April 2016 through October 2016.



1
  The parties agreed to submit post-hearing briefs by e-mail to arbruben@gmail.com on January 31, 2021 and extended
to February 18, 2021. The post-hearing briefs were timely emailed and received. Thus, the arbitrator finds the record
in this matter closed on February 18, 2021.




                                                                                      APPENDIX P. 73
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22                  Page 74 of 86 PageID 1543



         Plaintiff argued that Defendant Ross should be expelled from membership. It is the Opinion
of this arbitrator that Defendant Ross should be prohibited from serving in any official position
for life within the APFA organization that is set forth and included in the APFA Constitution and
Policy Manual that is covered or identified. Additionally, if Ross currently holds any official
position presently, he is to resign said position. This is to bar Ross from any official position for
life other than that of member.

                                             REMEDY

   1. The APFA will hire an Independent Forensic Auditor to audit Robert Ross’ weekly
      reports, monthly reports and APFA credit card charges from April 1, 2016 through July,
      2018 and perform the following tasks:

   Specifically:
      a. The Auditor shall inspect the receipts for the Ross family vacation taken in the
          Grand Canyon in August 2016. Ross claimed all of hotel stays, meals and
          mileage charges as relocation moving expenses when some are for a personal
          vacation. Please determine what costs should not have been claimed as
          relocation moving expenses. Ross is liable for the excess cost and is hereby
          Ordered to repay APFA for all inappropriate charges!
      b. The Auditor shall inspect Ross’ APFA credit card usage for personal and group
          meals and purchases for personal items such as tools, toiletries, bath towels, and
          candy from April 1, 2016 through July 2018 and determine the cost of all
          inappropriate charges. If no documentation was provided to support each
          purchase was a union related business cost, then Ross is liable for all
          inappropriate charges and is hereby Ordered to repay the APFA for all
          inappropriate charges!
      c. The Auditor shall inspect all of Ross’ rental car usage from April 1, 2016
          through October 16, 2016 and determine if these rentals were for union related
          business. APFA paid for the rental cars but there should be documentation to
          show if it was for union related business. If not, Ross is to be assessed the cost
          of the rental cars during the above period and is hereby Ordered to repay APFA
          for inappropriate rental car usage!
      d. The Auditor shall inspect all of Ross’ claimed mileage from the Sacramento
          Airport to his residence (42 miles) and return (42 miles) as well as all monthly
          parking of his personal car. He claimed $105.00 per month from April 1, 2016
          through July 2016 to park his car at the Sacramento airport. Ross is to be
          assessed the mileage and monthly parking he claimed and Ross is hereby
          Ordered to repay APFA for all of these inappropriate charges!

   2. Ross is hereby Ordered to immediately repay the APFA $5,436.47 per the finding of the
      APFA Board of Directors. An independent accounting firm determined the formula used
      to determine the daily rate assessed for sick and vacation payout was incorrect.
   3. Ross is hereby Ordered to repay the APFA $8,106.13 for leasing an apartment at the Bear
      Creek Complex where he had no intention of occupying.
   4. Ross is hereby fined and Ordered to repay the APFA for all of the Arbitrator’s Fee for
      this arbitration.



                                                                          APPENDIX P. 74
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22                Page 75 of 86 PageID 1544



  5. Ross is hereby ordered to repay the APFA the full cost of hiring the Independent Forensic
     Auditor.
  6. Ross is hereby Ordered to repay $3,637.00 to the APFA for all of the furniture he had
     purchased and delivered to his residence located in South Lake, Texas.
  7. Ross is prohibited from serving in any official position within the APFA organization
     that is set forth and included in the APFA Constitution and Policy Manual that is covered
     or identified. If Ross currently holds any official position presently, he is to resign said
     position. This is to bar Ross from any official position for life other than that of member.
  8. The APFA if it hasn’t done so, must create a separate body of trained forensic
     accountants to oversee the annual audit and to create procedures and recommendations to
     preclude fraud for the BOD’s review and action to be included within the Policy Manual.
     National Officers or Officers who have the authority to extend APFA to credit or use of
     an APFA credit card must be held economically responsible. The language created must
     be very clear and unambiguous. Training over the LMRDA must be a requirement for all
     National Officers or any person who can extend APFA to credit and whom is given an
     APFA credit card. These individuals must sign a document declaring and attesting that
     they have read and understand their responsibilities in using an APFA credit card or
     extending credit to the APFA for rental cars, apartments, etc., and that negligence will not
     be tolerated and will be dealt with severe penalties.
  9. The arbitrator shall retain jurisdiction over any issue involving this remedy only. Moreover,
     if the Independent Auditor determines any monies are due from Ross, that will be the
     amount to be assessed or due for repayment to the APFA. The APFA shall either Order
     said repayment from Ross or submit the Independent Auditors findings to have this
     arbitrator issue a Supplemental Decision and Remedy.

                                              AWARD

     The grievance is sustained in part and denied in part.

     Issued in San Antonio, Texas the 19th day of March, 2022.




                                                                       APPENDIX P. 75
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22                                                                Page 76 of 86 PageID 1545

                                                                           APFA
                                           EXECUTIVE COMMITTEE MEETING
                                                                  3Q20 EC MEETING
                                                               December 1-2, 2020
                                                         APFA Unity Pays Conference Room
                                                                    Euless, TX

                                Resolution #: 6                                            Resolution Name: Chinery-Lee v Ross - Valid
       Resolution Tally Sheet




                                Maker:       Black                                         YES         = Yes                 ABS = Abstain                      PXY =          Proxy Vote
                                                                                           NO          = No                  N/A = Absent                       REC =          Recuse
                                Second:      Harris                                        PASS        = Pass
                                Date:        12/01/2020
                                                                                          COMMENTS:
                                Time:        1:47 p.m.




                                                                                                                                              Vice President
                                                                                                                 Treasurer




                                                                                                                                                               President
                                                                                                                                Secretary
                                                                                                       Hancock
                                                                                Conners
                                                         Watson




                                                                                          Seelye
                                                                   Gluth




                                           YES
                                           NO
                                           PASS
                                           ABS
                                           N/A
                                           PXY
                                           REC


                                    YES:     9          NO:        0        ABSTAIN:               0        ABSENT:             0

     Status: Passed                                   Failed                   Tabled                   Withdrawn                           Show of Hands



   WHEREAS, on November 18, 2020, Melissa Chinery and Sandra Lee filed charges against
   Bob Ross under Article VII of the APFA Constitution; and

   WHEREAS, Article VII, Section 3 of the APFA Constitution provides that the Executive
   Committee shall review Article VII charges for validity, and

   WHEREAS, the Executive Committee has conducted that review.

   BE IT THEREFORE RESOLVED, that Melissa Chinery’s and Sandra Lee’s November 18,
   2020 charges against Bob Ross are valid.




      EC Resolution #6                                                     December 1-2, 2020                                                                              Page 1 of 1
                                                                                                                               APPENDIX P. 76
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22                                                                Page 77 of 86 PageID 1546

                                                                           APFA
                                           EXECUTIVE COMMITTEE MEETING
                                                                  3Q20 EC MEETING
                                                               December 1-2, 2020
                                                         APFA Unity Pays Conference Room
                                                                    Euless, TX

                                Resolution #: 5                                            Resolution Name: Chinery-Lee v Ross - Specific
       Resolution Tally Sheet




                                Maker:       Black                                         YES         = Yes                 ABS = Abstain                      PXY =          Proxy Vote
                                                                                           NO          = No                  N/A = Absent                       REC =          Recuse
                                Second:      Salas                                         PASS        = Pass
                                Date:        12/01/2020
                                                                                          COMMENTS:
                                Time:        1:45 p.m.




                                                                                                                                              Vice President
                                                                                                                 Treasurer




                                                                                                                                                               President
                                                                                                                                Secretary
                                                                                                       Hancock
                                                                                Conners
                                                         Watson




                                                                                          Seelye
                                                                   Gluth




                                           YES
                                           NO
                                           PASS
                                           ABS
                                           N/A
                                           PXY
                                           REC


                                    YES:     9         NO:         0        ABSTAIN:               0        ABSENT:             0

     Status: Passed                                  Failed                    Tabled                   Withdrawn                           Show of Hands



   WHEREAS, on November 18, 2020, Melissa Chinery and Sandra Lee filed charges against
   Bob Ross under Article VII of the APFA Constitution; and

   WHEREAS, Article VII, Section 3 of the APFA Constitution provides that the Executive
   Committee shall review Article VII charges for specificity, and

   WHEREAS, the Executive Committee has conducted that review.

   BE IT THEREFORE RESOLVED, that Melissa Chinery’s and Sandra Lee’s November 18,
   2020 charges against Bob Ross are specific.




      EC Resolution #5                                                     December 1-2, 2020                                                                              Page 1 of 1
                                                                                                                               APPENDIX P. 77
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22                                                               Page 78 of 86 PageID 1547

                                                                          APFA
                                           EXECUTIVE COMMITTEE MEETING
                                                                 3Q20 EC MEETING
                                                              December 1-2, 2020
                                                        APFA Unity Pays Conference Room
                                                                   Euless, TX

                                Resolution #: 4                                           Resolution Name: Chinery-Lee v Ross - Timely
       Resolution Tally Sheet




                                Maker:       Black                                        YES         = Yes                 ABS = Abstain                      PXY =          Proxy Vote
                                                                                          NO          = No                  N/A = Absent                       REC =          Recuse
                                Second:      Harris                                       PASS        = Pass
                                Date:        12/01/2020
                                                                                         COMMENTS:
                                Time:        11:51 a.m.




                                                                                                                                             Vice President
                                                                                                                Treasurer




                                                                                                                                                              President
                                                                                                                               Secretary
                                                                                                      Hancock
                                                                               Conners
                                                        Watson




                                                                                         Seelye
                                                                  Gluth




                                           YES
                                           NO
                                           PASS
                                           ABS
                                           N/A
                                           PXY
                                           REC


                                    YES:     9          NO:       0        ABSTAIN:               0        ABSENT:             0

     Status: Passed                                   Failed                  Tabled                   Withdrawn                           Show of Hands



   WHEREAS, on November 18, 2020, Melissa Chinery and Sandra Lee filed charges against
   Bob Ross under Article VII of the APFA Constitution; and

   WHEREAS, Article VII, Section 3 of the APFA Constitution provides that the Executive
   Committee shall review Article VII charges for timeliness, and

   WHEREAS, the Executive Committee has conducted that review.

   BE IT THEREFORE RESOLVED, that Melissa Chinery’s and Sandra Lee’s November 18,
   2020 charges against Bob Ross are timely.




      EC Resolution #4                                                    December 1-2, 2020                                                                              Page 1 of 1
                                                                                                                              APPENDIX P. 78
01231224ÿ67820ÿ9                                     ÿ9ÿÿÿ9ÿÿÿ!"#
            Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22                           Page 79 of 86 PageID 1548




                   +,-./0,12ÿ4.5.6-ÿ782ÿ7977
                     +.::;<=<>-,;ÿ4/?@-/,-A/ÿB<C@6@A>6ÿDA/ÿ4/-@C;<ÿEFFÿGH,/5<6ÿI<C<@J<0
                   KLÿNOPQRÿSTUÿSVSSUÿWXÿYZ[\X]ÿOÿHA-;@><ÿLZ\^_`^LaÿbcdbÿeXefXP[ÿZ_ÿ\RXÿ^[[gOLQXÿZ_
                   OPf^\PO\^ZLÿ]XQ^[^ZL[ÿ^LÿQZLLXQ\^ZLÿW^\Rÿ\RXÿQROPaX[ÿ_^hX]ÿf`ÿbcdbÿeXefXP[ÿOaO^L[\ÿ_ZPeXP
                   bcdbÿiO\^ZLOhÿcPX[^]XL\ÿjZfÿkZ[[ÿOL]ÿ_ZPeXPÿbcdbÿiO\^ZLOhÿlPXO[gPXPÿmgaXL^ZÿnOPaO[
                   gL]XPÿbP\^QhXÿnooÿZ_ÿ\RXÿ4pq4ÿGA>6-@-.-@A>rÿ
                   oLÿfZ\Rÿ]XQ^[^ZL[UÿbPf^\PO\ZPÿkgfXLÿkrÿbPeXL]OP^sÿZP]XPX]ÿ\RXÿbcdbÿjZOP]ÿZ_ÿt^PXQ\ZP[
                   ujKtvÿZPÿ\RXÿbcdbÿmwXQg\^xXÿyZee^\\XXÿumyvÿ\ZÿR^PXÿOLÿoL]XYXL]XL\ÿdZPXL[^Qÿbg]^\ZPÿ\Z
                   Og]^\ÿxOP^Zg[ÿQROPaX[ÿOL]ÿXwYXL[X[ÿf`ÿkZ[[ÿOL]ÿnOPaO[rÿlRXÿOg]^\[ÿOPXÿLZWÿQZeYhX\Xrÿb[ÿO
                   PX[gh\ÿZ_ÿ\RXÿOg]^\ZPz[ÿ_^L]^La[UÿZLÿbgag[\ÿSTUÿSVSSUÿbPf^\PO\ZPÿbPeXL]OP^sÿ^[[gX]
                   Oÿ{|}}~~ÿ ÿÿÿÿ^LÿXOQRÿQO[XÿWR^QRÿeZ]^_^X]ÿ\RX
                   PXeX]^X[ÿ^LÿfZ\RÿZ_ÿ\RXÿZP^a^LOhÿ]XQ^[^ZL[ÿ\ZÿPX_hXQ\ÿ\RXÿoL]XYXL]XL\ÿdZPXL[^Qÿbg]^\ZPz[
                   ^]XL\^_^X]ÿ^\Xe[rÿ
                   AÿJ@<ÿ-H<ÿÿÿ¡ÿ¢¡£ÿ¤ ¡¥ÿDA/ÿDA/=</ÿ4pq4
                   ¦,-@A>,;ÿp/<6@0<>-ÿ§A?ÿIA662ÿC;@C¨ÿH</<rÿ
                   AÿJ@<ÿ-H<ÿÿÿ¡ÿ©¡£ÿ¤ ¡¥ÿDA/ÿDA/=</ÿ¦,-@A>,;
                   /<,6./</ÿª.5<>@AÿE,/5,62ÿC;@C¨ÿH</<rÿ
                   ÿ
                   ÿ
                                       F>0<:<>0<>-ÿqA/<>6@Cÿ4.0@-A/ÿq@>0@>56ÿ
                                       DA/ÿqA/=</ÿ¦,-@A>,;ÿp/<6@0<>-ÿ§A?ÿIA66
                   oLÿR^[ÿNOPQRÿ«¬UÿSVSSUÿ]XQ^[^ZLÿ^LÿQZLLXQ\^ZLÿW^\Rÿ\RXÿQROPaX[ÿOaO^L[\ÿjZfÿkZ[[UÿbPf^\PO\ZP
                   bPeXL]OP^sÿZP]XPX]ÿO[ÿZLXÿO[YXQ\ÿZ_ÿ\RXÿPXeX]`ÿ\RO\­
                    ®¯°ÿ±²³±ÿ´~~ÿ°µÿÿ¶}ÿ³µÿ±|µÿÿ|ÿ·µÿÿ̧´¹~ÿµ}µ
                     °~ÿµ}µÿÿ±²³±ÿµÿµÿ°µºÿµÿ±}µ~ÿ»ÿ¼½»¾ÿ°µ|º°ÿ¿|~ÿ¼½»Àÿ
                                                     }µµÿ°ÿ~~´ºÿ¹Á
                   {}~~Á
                       «rÿ¯°ÿ±|µÿ°~~ÿ}ÿ°ÿµ}ÿµÿ°ÿÿ~ÿÂÿ¹ÿÿ°ÿÃµ
                          Äÿÿ±|º|ÿ¼½»¾Åÿÿ~ÿ~~ÿÿ°~ÿÿ~ÿÿ~ºÿ°µº
                          ÿµ~ÿÂºÿÆ}ÿ´°ÿÿµÿµÿÿ}µ~ÿÂÅÿ²~
                          µÿ´°ÿÿ°|~ÿÿ°Âÿ·ÿ~ÿÿµ~ÿÂºÿÆ}Å
                          ÿÿ~·~ÿµÿ°ÿÆÿÿÿÿ°µ·ÿÇµµÿÿµ}ÿ±²³±ÿµÿ~~
                          }}µ}µÿ°µºÈ

811$ 1 $1 %%#%%%"%%"#&'7(7))0 APPENDIX P. 79   61*
01231224ÿ67820ÿ9                                     ÿ9ÿÿÿ9ÿÿÿ!"#
                   +,ÿ./0ÿ2345678ÿ9/:;;ÿDocument
            Case 4:22-cv-00343-Y        5<9=0>6ÿ?79956-1
                                                    @ÿ2AB2ÿ>Filed
                                                            80456ÿ>11/09/22
                                                                   :84ÿ39:C0ÿD78Page
                                                                                ÿ=0897<:
                                                                                      80;
                                                                                        ÿ:of<4ÿ
                                                                                              C873=ÿ
                                                                                             86    E0:;91549
                                                                                                 PageID
                          :<4ÿ=38>/:909ÿD78ÿ=0897<:;ÿ560E9ÿ93>/ÿ:9ÿ677;9Fÿ675;068509FÿG:6/ÿ67H0;9Fÿ:<4ÿ>:<4I
                          D87Eÿ2=85;ÿJFÿKLJMFÿ6/873C/ÿN3;IÿKLJOÿ:<4ÿ40608E5<0ÿ6/0ÿ>796ÿ7Dÿ:;;ÿ5<:==87=85:60
                          >/:8C09PÿQDÿ<7ÿ47>3E0<6:657<ÿH:9ÿ=87R5404ÿ67ÿ93==786ÿ0:>/ÿ=38>/:90ÿH:9ÿ:ÿ3<57<
                          80;:604ÿG395<099ÿ>796Fÿ6/0<ÿ?799ÿ59ÿ;5:G;0ÿD78ÿ:;;ÿ5<:==87=85:60ÿ>/:8C09ÿ:<4ÿ59ÿ/080GI
                          S840804ÿ67ÿ80=:Iÿ6/0ÿ2AB2ÿD78ÿ:;;ÿ5<:==87=85:60ÿ>/:8C09T
                       U,ÿ./0ÿ2345678ÿ9/:;;ÿ5<9=0>6ÿ:;;ÿ7Dÿ?799@ÿ80<6:;ÿ>:8ÿ39:C0ÿD87Eÿ2=85;ÿJFÿKLJMFÿ6/873C/
                          S>67G08ÿJMFÿKLJMFÿ:<4ÿ40608E5<0ÿ5Dÿ6/090ÿ80<6:;9ÿH080ÿD78ÿ3<57<ÿ80;:604ÿG395<099P
                          2AB2ÿ=:54ÿD78ÿ6/0ÿ80<6:;ÿ>:89ÿG36ÿ6/080ÿ9/73;4ÿG0ÿ47>3E0<6:657<ÿ67ÿ9/7Hÿ5Dÿ56ÿH:9ÿD78
                          3<57<ÿ80;:604ÿG395<099PÿQDÿ<76Fÿ?799ÿ59ÿ67ÿG0ÿ:9909904ÿ6/0ÿ>796ÿ7Dÿ6/0ÿ80<6:;ÿ>:89
                          4385<Cÿ6/0ÿ:G7R0ÿ=08574ÿ:<4ÿ59ÿ/080GIÿS840804ÿ67ÿ80=:Iÿ2AB2ÿD78ÿ5<:==87=85:60ÿ80<6:;
                          >:8ÿ39:C0T
                       V,ÿ./0ÿ2345678ÿ9/:;;ÿ5<9=0>6ÿ:;;ÿ7Dÿ?799@ÿ>;:5E04ÿE5;0:C0ÿD87Eÿ6/0ÿW:>8:E0<67ÿ258=786ÿ67
                          /59ÿ809540<>0ÿXYKÿE5;09Zÿ:<4ÿ80638<ÿXYKÿE5;09Zÿ:9ÿH0;;ÿ:9ÿ:;;ÿE7<6/;Iÿ=:8[5<Cÿ7Dÿ/59
                          =0897<:;ÿ>:8Pÿ\0ÿ>;:5E04ÿ]JL^PLLÿ=08ÿE7<6/ÿD87Eÿ2=85;ÿJFÿKLJMFÿ6/873C/ÿN3;IÿKLJM
                          67ÿ=:8[ÿ/59ÿ>:8ÿ:6ÿ6/0ÿW:>8:E0<67ÿ:58=786Pÿ?799ÿ59ÿ67ÿG0ÿ:9909904ÿ6/0ÿE5;0:C0ÿ:<4
                          E7<6/;Iÿ=:8[5<Cÿ/0ÿ>;:5E04Fÿ:<4ÿ?799ÿ59ÿ/080GIÿS840804ÿ67ÿ80=:Iÿ2AB2ÿD78ÿ:;;ÿ7D
                          6/090ÿ5<:==87=85:60ÿ>/:8C09T_
                   `abcÿebfaghijbcÿbkÿilhÿmnojipÿilhÿqcohahcohciÿrbshctjeÿunojibsÿashamshoÿmÿshabsi
                   vljelÿvmtÿtnwfjiihoÿibÿilhÿuswjismibsxÿqcÿilmiÿshabsipÿilhÿunojibsÿohihsfjchop
                   mkihsÿshyjhvÿbkÿmggÿilhÿmymjgmwghÿkjcmcejmgÿshebsotpÿilmiÿkbsfhsÿzmijbcmgÿ{shtjohci
                   |bttÿbvhoÿmcÿmoojijbcmgÿ}~ ÿibÿilhÿhfwhstljaÿbkÿilhÿu{rupÿjcÿmoojijbcÿib
                   ilhÿfbcjhtÿilhÿuswjismibsÿlmoÿmgshmoÿkbncoÿibÿwhÿbvhoÿjcÿljtÿmselÿp
                   pÿohejtjbcxÿmthoÿbcÿilhÿunojibstÿkjcojctÿmcoÿshabsipÿilhÿuswjismibsÿjttnho
                   ljtÿunntiÿpÿpÿÿÿÿ ¡ÿ¢£pÿgjc¤ho
                   mwbyhpÿjcÿvljelÿlhÿebcegnohoÿmcoÿbsohshoÿilmiÿ|bttÿbvhoÿmcoÿtlmggÿshamÿilh
                   u{ruÿfhfwhstljaÿilhÿkbggbvjcÿibimgÿmfbncit¥ÿ
                   ÿ
                                                        ¦;5>[ÿ>/:86ÿ67ÿ0<;:8C0




                                                                                                                     ÿ

                                       qcohahcohciÿrbshctjeÿunojibsÿrjcojctÿ
                                   kbsÿrbsfhsÿzmijbcmgÿ§shmtnshsÿ¨nhcjbÿ©msmt
                   ª«ÿ¬­®ÿ¯°±²³´²µÿ¶·¸ÿ+¹++¸ÿº°»­®­¼«¸ÿ´®ÿ»½´²­¾­°ºÿ±µÿ¬­®ÿ¿´²»¬ÿ¶¹¸ÿ+¹++¸ÿ®³ÀÀ½°Á°«Â´½
                   º°»­®­¼«¸ÿ­«ÿ»¼««°»Â­¼«ÿÃ­Â¬ÿÂ¬°ÿ»¬´²Ä°®ÿ´Ä´­«®ÂÿÅ³Ä°«­¼ÿÆ´²Ä´®¸ÿÇ²±­Â²´Â¼²ÿÇ²Á°«º´²­È¸
811$ 1 $1 %%#%%%"%%"#&'7(7))0 APPENDIX P. 80    21*
01231224ÿ67820ÿ9                                     ÿ9ÿÿÿ9ÿÿÿ!"#
            Case,-
                 ./-/.ÿ12ÿ,3/ÿ124/56ÿ,7
                 4:22-cv-00343-Y       ÿ68/ÿ-/9/.:56-1
                                      Document    ÿ6816;ÿFiled 11/09/22                 Page 81 of 86 PageID 1550

                   <=>ÿ@AABCÿDE>ÿ=ÿFAÿGCHIJKCKÿLEÿLMCÿNOPÿEGÿQRÿLEÿMFGCÿIJÿ@JKCSCJKCJLÿTBKFLEGÿLEÿIBKFL
                   UIGVIAÿWGCKFLÿWIGKÿWMIGVCAÿKBGFJVÿMFAÿLCGHÿIAÿDILFEJIXÿYGCIABGCG>ÿUIGVIAÿFAÿMCGCZ[ÿOGKCGCK
                   LEÿGCSI[ÿT\]Tÿ^EGÿIXXÿHCIXAÿMCÿSBGWMIACKÿEJÿLMCÿT\]TÿWGCKFLÿWIGKÿ^EGÿMFHACX^ÿIJKÿ^EGÿIXX
                   ELMCGÿHCIXAÿMCÿMIAÿJELÿSGESCGX[ÿKEWBHCJLCK>ÿ@^ÿMCÿMIAÿ^IFXCKÿLEÿSGE_FKCÿKEWBHCJLILFEJÿLE
                   ABSSEGLÿLMCÿSBGWMIACÿE^ÿLMCÿHCIXÿC`SCJACaÿLMCÿ@JKCSCJKCJLÿTBKFLEGÿHBALÿKCLCGHFJCÿF^ÿAIFK
                   C`SCJACÿbIAÿEGÿbIAÿJELÿ^EGÿLMCÿAEXCÿSBGSEACÿE^ÿWEJKBWLFJVÿcJFEJÿZBAFJCAA>ÿdEGCE_CGaÿLMC
                   IBKFLÿHBALÿWEHSX[ÿbFLMÿ^CKCGIXÿFJWEHCÿLI`ÿVBFKCXFJCAÿbMFWMÿKFALFJVBFAMÿZCLbCCJÿSCGAEJIX
                   IJKÿJEJSCGAEJIXÿC`SCJACA><ÿ
                   efghÿjgkflmnoghÿgpÿnqmÿrstonuÿrvÿwrvÿtghmÿohÿnqmÿxgvvÿjrvmuÿnqmÿyhtmfmhtmhn
                   zg{mhvojÿ|stong{ÿf{mfr{mtÿrÿ{mfg{nÿwqojqÿwrvÿvs}konnmtÿngÿnqmÿ|{}on{rng{~ÿyhÿnqrn
                   {mfg{nuÿnqmÿ|stong{ÿtmnm{kohmtuÿrpnm{ÿ{momwÿgpÿrllÿnqmÿrrolr}lmÿpohrhjorlÿ{mjg{tvu
                   nqrnÿpg{km{ÿrnoghrlÿ{mrvs{m{ÿsmhogÿr{rvÿgwmtÿrhÿrttonoghrlÿ ÿng
                   nqmÿmk}m{vqofÿgpÿnqmÿ|z|uÿohÿrttonoghÿngÿnqmÿkghomvÿnqmÿ|{}on{rng{ÿqrtÿrl{mrt
                   pgshtÿngÿ}mÿgwmtÿohÿqovÿzm}{sr{ÿuÿuÿtmjovoghÿrhtÿr{jqÿuÿu
                   vsfflmkmhnrlÿtmjovogh~ÿrvmtÿghÿnqmÿ|stong{vÿpohtohvÿrhtÿ{mfg{nuÿnqmÿ|{}on{rng{
                   ovvsmtÿqovÿ|ssvnÿuÿuÿ ÿ¢£¤¥¤¦ÿ§ÿ¨§©ÿª¦§¤«¤£ ¤¦u
                   loh¬mtÿr}gmuÿohÿwqojqÿqmÿjghjlstmtÿrhtÿg{tm{mtÿnqrnÿr{rvÿgwmtÿrhtÿvqrll
                   {mfrÿnqmÿ|z|ÿkmk}m{vqofÿnqmÿpgllgwohÿngnrlÿrkgshnv­ÿÿ
                   ÿ
                                                        RXFW®ÿWMIGLÿLEÿCJXIGVC




                                                                   ÿ

                   ¯3ÿ1..°6°,3ÿ6,ÿ68/ÿ9,3/61-:ÿ19,±362ÿ6816ÿ²-³°6-16,-ÿ²-9/3.1-°́ÿ,-./-/.ÿµ,22ÿ13.ÿ¶1-·12ÿ6,
                   -/41:ÿ²¸¹²ºÿ8/ÿ7±-68/-ÿ,-./-/.ÿ6816ÿ68/ÿ²¸¹²ÿ9±26ÿ61»/ÿ5/-61°3ÿ26/42ÿ6,ÿ-/7,-9ÿ68/ÿ¼1:ÿ¼/
                   .,ÿ³±2°3/22½ÿ¾,±-ÿ²¸¹²ÿ¿/1./-28°4ÿ°2ÿ°3ÿ68/ÿ4-,5/22ÿ°94À/9/36°3·ÿ7°3135°1Àÿ-/7,-92ÿ6,
                   /32±-/ÿ²¸¹²ÿ5,94À°/2ÿ¼°68ÿ68°2ÿ-±À°3·½ÿ²-³°6-16,-ÿ²-9/3.1-°́ÿ,-./-/.;ÿÿ
                   ÿ
                         <YMCÿT\]TÿF^ÿFLÿMIAJÁLÿKEJCÿAEaÿHBALÿWGCILCÿIÿACSIGILCÿZEK[ÿE^ÿLGIFJCKÿ^EGCJAFW
                         IWWEBJLIJLAÿLEÿE_CGACCÿLMCÿIJJBIXÿIBKFLÿIJKÿLEÿWGCILCÿSGEWCKBGCAÿIJK
                         GCWEHHCJKILFEJAÿLEÿSGCWXBKCÿ^GIBKÿ^EGÿLMCÿNOPÁAÿGC_FCbÿIJKÿIWLFEJÿLEÿZCÿFJWXBKCK
                         bFLMFJÿLMCÿ\EXFW[ÿdIJBIX>ÿÿ
                         ÿ
                         DILFEJIXÿO^^FWCGAÿEGÿO^^FWCGAÿbMEÿMI_CÿLMCÿIBLMEGFL[ÿLEÿC`LCJKÿT\]TÿLEÿWGCKFLÿEGÿBACÿE^
                         IJÿT\]TÿWGCKFLÿWIGKÿHBALÿZCÿMCXKÿCWEJEHFWIXX[ÿGCASEJAFZXC>ÿYMCÿXIJVBIVCÿWGCILCK
                         HBALÿZCÿ_CG[ÿWXCIGÿIJKÿBJIHZFVBEBA>ÿYGIFJFJVÿE_CGÿLMCÿÂdÃPTÿHBALÿZCÿI
                         GCÄBFGCHCJLÿ^EGÿIXXÿDILFEJIXÿO^^FWCGAÿEGÿIJ[ÿSCGAEJÿbMEÿWIJÿC`LCJKÿT\]TÿLEÿWGCKFLÿIJK
811$ 1 $1 %%#%%%"%%"#&'7(7))0 APPENDIX P. 81   *1+
01231224ÿ67820ÿ9                                                 ÿ9ÿÿÿ9ÿÿÿ!"#
                     +,-.ÿ01ÿ20345ÿ65ÿ
            Case 4:22-cv-00343-Y     7897ÿ:;4<0=ÿ56-1
                                    Document     :6;<>ÿ?,414ÿ05<0
                                                        Filed   30<@6A1ÿ.@1
                                                              11/09/22     =ÿ1025ÿ82
                                                                          Page    6ÿ<-:
                                                                                     of@.4
                                                                                        86 5=
                                                                                            ÿ<4:A6;0521551
                                                                                            PageID
                           65<ÿ6==41=052ÿ=,6=ÿ=,4Bÿ,634ÿ;46<ÿ65<ÿ@5<4;1=65<ÿ=,40;ÿ;41C-510D0A0=041ÿ05ÿ@1052ÿ65
                           7897ÿ:;4<0=ÿ:6;<ÿ-;ÿ4E=45<052ÿ:;4<0=ÿ=-ÿ=,4ÿ7897ÿF-;ÿ;45=6Aÿ:6;1Gÿ6C6;=.45=1Gÿ4=:>G
                           65<ÿ=,6=ÿ542A0245:4ÿ+0AAÿ5-=ÿD4ÿ=-A4;6=4<ÿ65<ÿ+0AAÿD4ÿ<46A=ÿ+0=,ÿ1434;4ÿC456A=041>Hÿ

                   IJKIÿMNÿOPÿMPQRSRPQRPTÿUPMVPÿOPQÿQVRNÿPVTÿWOXRÿOÿSOYRPTÿZVQ[ÿTVÿN\YUTMPM]RÿTWRÿO\TMVPNÿV^
                   TWRÿ_OTMVPOÿ̀a^^M\RYNbÿcWRYR^VYRdÿ\WOPeRNÿTVÿTWRÿJVM̀\[ÿfOPUOÿ̀OYRÿPR\RNNOY[ÿTVÿRPNUYR
                   ^MPOP\MOÿ̀TYOPNSOYRP\[ÿOPQÿMPTReYMT[bÿgOYM̀RYÿTWMNÿhVPTWdÿ[VUYÿIJKIÿiVOYQÿV^ÿjMYR\TVYN
                   UPOPMhVUN`[ÿOSSYVXRQÿOÿYRNVÙTMVPÿTWOTÿUSQOTRNÿOPQÿ\ÒYM^MRNÿTWRÿIJKIÿ\YRQMTÿ\OYQÿSVM̀\[b
                   aP\RÿTWRÿhMPUTRNÿV^ÿTWRÿhRRTMPeÿOYRÿOXOM̀OZR̀dÿkRÿkM̀ÿ̀NRPQÿOÿ\VhhUPM\OTMVPÿQRTOM̀MPeÿTWR
                   \WOPeRNbÿ
                   cWMNÿOQhMPMNTYOTMVPÿNMP\RÿQO[ÿVPRÿWONÿTOlRPÿNTRSNÿTVÿRPNUYRÿhRhZRYÿO\\RNNÿTVÿO`ÿ̀V^ÿIJKImN
                   ^MPOP\MOÿ̀YR\VYQNÿOPQÿYRSVYTNdÿMP\ÙQMPeÿOUQMTNdÿnfopÿ^M̀MPeNdÿhVPTW`[ÿ^MPOP\MOÿ̀YRSVYTNd
                   RqSRPNRÿOPQÿhM̀ROeRÿYRSVYTNdÿV^^M\RYÿ\YRQMTÿ\OYQÿNTOTRhRPTNdÿNMePRQÿ\VPTYO\TNÿOPQ
                   OeYRRhRPTNdÿOPQÿSO[YV`ÿ̀YReMNTRYNbÿIPQÿkRÿOYRÿMPÿTWRÿSYV\RNNÿV^ÿTOlMPeÿTWRÿO\TMVPN
                   PR\RNNOY[ÿTVÿMhSR̀hRPTÿTWRÿ^MPOP\MOÿ̀YR^VYhNÿONÿVYQRYRQÿZ[ÿTWRÿIYZMTYOTVYbÿI`ÿ̀IJKI
                   fRhZRYNÿMPÿeVVQÿNTOPQMPeÿhO[ÿYRXMRkÿTWRNRÿQV\UhRPTNÿ^VYÿTWRÿ\UYYRPTÿOPQÿ^VYhRY
                   OQhMPMNTYOTMVPNÿZ[ÿ\VPTO\TMPeÿTWRÿIJKIÿ_OTMVPOÿ̀cYRONUYRYbÿÿ
                   rPÿsVM̀QOYMT[d




                   ÿ

                   tuvwxÿtz{t|ÿ
                   cWRÿINNV\MOTMVPÿV^ÿJYV^RNNMVPOÿ̀KM̀eWTÿITTRPQOPTNÿ}IJKI~ÿYRSYRNRPTNÿTWRÿpdÿKM̀eWT
                   ITTRPQOPTNÿV^ÿIhRYM\OPÿIMYM̀PRNdÿOPÿOMYM̀PRÿTWOTÿ\VPNMNTNÿV^ÿOXMOTMVPÿSYV^RNNMVPOǸÿkMTWÿO
                   QMXRYNRÿWMNTVY[ÿZYVUeWTÿTVeRTWRYÿ^YVhÿhUT̀MSR̀ÿOMYM̀PRNbÿKYVhÿIJKImNÿMP\RSTMVPÿMPÿdÿTWR
                     PMVPÿWONÿ^MRY\R`[ÿOQXV\OTRQÿ^VYÿTWRÿKM̀eWTÿITTRPQOPTÿSYV^RNNMVPbÿaUYÿ PMVPÿWONÿZRRPÿOTÿTWR
                   ^VYR^YVPTÿV^ÿTWRÿ^MeWTÿ^VYÿkVYlSÒ\RÿRUOM̀T[dÿR̀eMNÒTMXRÿO^^OMYNdÿOPQÿkVYlRYmNÿYMeWTNb
                   ÿ
                   ÿ
                   tz{tÿwx|
                   }~ÿoÿÿkkkbOS^ObVYeÿÿÿbÿgUR̀NNÿiX̀QdÿgUR̀NNdÿcÿ

                    PNUZN \YMÿZRÿ
                               PR POYVT789
                                          TOVb̀\AVhÿ ^YVhÿ
                                                        1ÿ;4T1WM
                                                              4;N3ÿ4M̀N<>
                                                                        TÿÿÿKVYkOYQÿTVÿOÿ^YMRPQÿÿ SQOTRÿ[VUYÿSYV^M̀Rÿ
                   -CB;02,=       ÿÿ    7ÿ7A ÿ;02,=




811$ 1 $1 %%#%%%"%%"#&'7(7))0 APPENDIX P. 82            *1*
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 83 of 86 PageID 1552




                                                         APPENDIX P. 83
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 84 of 86 PageID 1553




                                                         APPENDIX P. 84
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 85 of 86 PageID 1554




                                                         APPENDIX P. 85
Case 4:22-cv-00343-Y Document 56-1 Filed 11/09/22   Page 86 of 86 PageID 1555




                                                         APPENDIX P. 86
